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                                                                                   EXHIBIT 1

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                                )
League of United Latin American Citizens –      )
Richmond Region Council 4614, Eliud             )
Bonilla, Luciania Freeman, Abby Jo              )
Gearhart, and Jeanne Rosen,                     )
                                                )
              Plaintiffs,                                           1:18cv423 (LO/IDD)
                                                ) Civil Action No. _______
                                                )
      v.                                        )
                                                )
                                                )
PUBLIC INTEREST LEGAL                           )
FOUNDATION, an Indiana Corporation,             )
and J. CHRISTIAN ADAMS                          )
                                                )
              Defendants.                       )
                                                )


                                         COMPLAINT

                                       INTRODUCTION

       1.     In our democracy, all eligible Americans must be able to participate in elections,

   free from unlawful interference or impediments. For generations, this country has fought to

   secure the right for all eligible Americans to vote in our elections free from intimidation or

   threats. Protecting these hard-won rights requires steady vigilance, as the techniques used to

   intimidate or otherwise suppress the participation of voters evolves over time. This case

   concerns one modern form of voter intimidation: the groundless assertion that certain eligible

   voters are committing voter fraud by participating in elections. Such accusations are almost




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     invariably unfounded in fact; overwhelming evidence demonstrates that actual instances of

     voter fraud are vanishingly infrequent.1

        2.      Spurious accusations of voter fraud cause real harm – both to the accused

     individuals and to our broader democracy. Plaintiffs in this case include four Virginia voters

     accused by Defendants of committing state and federal felonies by participating in the

     electoral process. These private citizens did not seek the public limelight or political power;

     they merely wished to exercise their fundamental right to participate in our elections. The

     false accusations leveled against them – now archived on the internet for the general public

     to see and further disseminate – give rise to a variety of harms to these individuals that have

     the effect of intimidating them from voting or registering to vote.

        3.      This is the kind of insidious modern technique of voter intimidation that civil

     rights laws are intended to eradicate. These false accusations are also the sort of assaults on

     Plaintiffs’ reputations that the law has long recognized as defamation. Likewise, this form of

     voter intimidation affects the work of the organizational Plaintiff in this case, League of

     United Latin American Citizens – Richmond Region Council 4614, and the voting behavior

     of its members and the Latino community it serves.

        4.      The Defendants are the Public Interest Legal Foundation and J. Christian Adams.

     Together, Defendants and others conspired to release two so-called “bombshell” exposés—

     which were publicized to media across the country, published on the internet, shared on




1
  See, e.g., Justin Levitt, A Comprehensive Investigation of Voter Investigation of Voter
Impersonation Finds 31 Credible Incidents Out of One Billion Ballots Cast, WASHINGTON POST
(Aug. 6, 2014), https://www.washingtonpost.com/news/wonk/wp/2014/08/06/a-comprehensive-
investigation-of-voter-impersonation-finds-31-credible-incidents-out-of-one-billion-ballots-
cast/?tid=a_inl&utm_term=.72b02eea461a.



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     social media, and subsequently submitted to the Presidential Advisory Commission on

     Election Integrity (“Presidential Commission”)—that alleged that specific, named Virginians

     committed felony voter fraud and should be prosecuted.

        5.      Defendants gave their first supposed “exposé” the provocative and threatening

     title of “Alien Invasion in Virginia” (“Alien Invasion I”). The report stated that over a

     thousand individuals had “registered to vote illegally” in Virginia. Ex. A, at 2 (italics and

     bold in original)2. The report then went on to list many of those purported felons’ names and

     home addresses, and, in some cases, even their home phone numbers, in the report’s exhibits

     (see Exhibits 1 and 7 to the report). This report and associated voter information is still

     available online.

        6.      The next supposed “exposé” kept the threatening moniker—this time dubbed

     Alien Invasion II—and expanded Defendants’ false assertions that certain Virginians were

     committing specific instances of felony voter fraud. See Ex. B (“Alien Invasion II”). For

     example, Alien Invasion II accused hundreds of named residents of Prince William County of

     committing felony voter fraud, suggesting that the United States Department of Justice “has

     done nothing about the felonies committed by 433 suspected aliens registered in Prince

     William County alone.” Ex. B, at 6 (italics added, bold in original). The report accuses

     1,852 Virginia voters of being “illegal registrants” who cast nearly 7,500 ballots by voting

     “in elections dating back to 1988” and thereby committing “felonies upon felonies.” Ex. B,

     at 1, 3 (bold in original). And, once again, Defendants published the names, home addresses,




2
  Names, except those of Plaintiffs, and personal information of individuals listed in the exhibits
to this complaint have been redacted.



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 telephone numbers, and, in some cases, social security numbers of these individuals. This

 report and associated voter information is also still available online.

    7.      Defendants’ “exposés” are predicated on specific, harmful falsehoods about

 numerous individuals made without due diligence to confirm the accuracy of the accusations.

 Defendants base their allegations that certain individuals committed felony voter fraud on the

 fact that those citizens were removed from the voting rolls for potentially being non-citizens.

 But, as Virginia elections officials have repeatedly emphasized to the Defendants, U.S.

 citizens can be removed from the voting rolls for various reasons—including routine

 paperwork errors. Thus, Defendants’ repeated allegations that certain Virginians were non-

 citizens and repeat felons were based on a demonstrably false proposition—of which

 Defendants were fully aware. Subsequent media investigations have conclusively

 demonstrated that Defendants falsely implied that scores of constitutionally eligible

 Virginians committed multiple voter fraud felonies.

    8.      These reckless allegations risk serious harm to the reputations of innocent

 Virginians. In the age of the internet, Google, and social media, where these reports remain

 easily accessible, even being accused of a felony can have life-altering economic, emotional,

 and social consequences.

    9.      Defendants’ ongoing defamation campaign is a modern, covert, and particularly

 insidious method of voter intimidation. An objectively reasonable individual named in either

 of the reports, or fearful of being wrongly named in future reports, would simply not register

 or vote again because the benefit from doing so would not outweigh the significant potential

 risk that the voter would be a continued target of Defendants’ ongoing and intensifying

 defamation campaign that could have devastating effects on their careers and personal lives,




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     or make them susceptible to harassment by “ballot security” activists3 (who now have access

     to their contact information by virtue of these published reports).

         10.     Defendants’ conduct violates both federal and state law. The reckless and false

     allegations that specific, named individuals committed felonies constitute textbook cases of

     per se defamation under Virginia law. Defendants’ defamation campaign also violates both

     the Voting Rights Act, see 52 U.S.C. § 10307, and the Ku Klux Klan Act, see 42 U.S.C. §

     1985(3), because it intimidates constitutionally eligible voters, like Plaintiffs, into not

     exercising their right to vote.

         11.     Plaintiffs have not sought notoriety or attention or high office or to wield public

     power. They simply want the same unfettered right to participate in our democracy free from

     harassment or intimidation that our country guarantees to every eligible voter. They bring

     this suit to redress the injuries they personally have suffered, to ask the court to stop

     Defendants’ continuing violations of the law, and to deter Defendants and others from this

     insidious form of voter suppression in the future.


                                               PARTIES

         12.     Plaintiff League of United Latin American Citizens – Richmond Region Council

     4614 (“LULAC”) is a membership-based organization that works to advance the economic

     condition, educational attainment, political influence, health, housing, and civil rights of the

     Latino population of the city of Richmond, Virginia, and the surrounding area, including



3
  These are individuals who engage in various activities, including challenging voters at polls,
that in certain instances have been alleged to suppress or interfere with voting rights. See
generally Wendy Weiser and Vishal Agraharkar, Ballot Security and Voter Suppression: What It
Is and What the Law Says, Brennan Center for Justice (Aug. 29, 2012),
https://www.brennancenter.org/publication/ballot-security-and-voter-suppression.



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 Hannover, Henrico, and Chesterfield counties, as well as the Tri-Cities area, which is

 comprised of the cities of Colonial Heights, Petersburg, Chester and Hopewell. As part of its

 mission, LULAC engages in a wide variety of political participation initiatives, including

 voter registration and voter outreach and education efforts.

     13.      Plaintiff Eliud Bonilla is a current resident of the state of Maryland who resided

 and voted in Herndon, Virginia, from 1999 until 2013. He is of Puerto Rican descent. Mr.

 Bonilla is a citizen born in Brooklyn, New York and has been a regular voter his entire adult

 life.

     14.      Plaintiff Luciania Freeman is a resident of Woodbridge, Virginia and a registered

 voter in Prince William County, Virginia. She is African American. Ms. Freeman is a

 citizen born in Fayetteville, North Carolina. She first registered to vote when she was 18

 years old.

     15.      Plaintiff Abby Jo Gearhart is a resident of Barhamsville, Virginia, and a registered

 voter of New Kent County, Virginia. Ms. Gearhart is a citizen; she was born in Newport

 News, Virginia, and has lived in Virginia her entire life. She has been a regular voter in

 Virginia since she registered at age 18.

     16.      Plaintiff Jeanne Rosen is a resident of Yorktown and a registered voter in York

 County, Virginia. Ms. Rosen is a citizen born in Brooklyn, New York. She first moved to

 Virginia and registered to vote in 2013 and remained in Virginia until moving to Kansas in

 2014. Ms. Rosen returned to the Commonwealth in 2016, and voted in the 2016 presidential

 election.




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        17.     Defendant Public Interest Legal Foundation (“PILF”) is a 501(c)(3) organization

     incorporated in the state of Indiana and has its principal place of business in Indianapolis,

     Indiana.

        18.     Defendant J. Christian Adams is President and General Counsel of PILF. Mr.

     Adams also participated as a member of President Trump’s recently disbanded Presidential

     Advisory Commission on Election Integrity. That Commission has been described by noted

     election-law expert Professor Richard L. Hasen as a “rogue’s gallery of the country’s worst

     voter suppressors.”4 Even after the Presidential Commission was disbanded amidst multiple

     federal lawsuits, Mr. Adams publicly indicated his intention to continue his work on

     defamatory and intimidating “exposés” such as those at issue here.5 Mr. Adams resides in

     Alexandria, Virginia.


                                    JURISDICTION AND VENUE

        19.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331. Plaintiffs’

     claims under 42 U.S.C. § 1985(3) and Section 11(b) of the Voting Rights Act (codified at 52

     U.S.C. § 10307) arise out of federal law.




4
  Richard L. Hasen, Beyond Words: J. Christian Adams Appointed to Pence-Kobach
Commission, Election Law Blog (July 10, 2017), http://electionlawblog.org/?p=93726
(explaining that “it is hard to imagine a list of people less credible on the issue of voter fraud in
the United States”).
5
  Hans von Spakovsky and J. Christian Adams, The Obstruction of a Vital Election Integrity
Commission, WASH. EXAMINER (Jan. 9, 2018), http://www.washingtonexaminer.com/the-
obstruction-of-a-vital-election-integrity-commission/article/2645401 (continuing to tout the
findings of the defamatory Alien Invasion reports and vowing that “we and others dedicated to
protecting our democratic system will continue our work” performed as members of the
commission).



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        20.     This Court has supplemental jurisdiction over Plaintiffs’ state law claim under 28

     U.S.C. § 1367.

        21.     This Court has personal jurisdiction over Defendant Adams as a resident of

     Virginia and over Defendant PILF under Virginia’s long-arm statute, Va. Code § 80.1-328.1.

     Venue is proper in this district pursuant to 28 U.S.C. § 1391.


                                     FACTUAL ALLEGATIONS

        22.     Defendants Adams and PILF conspired with each other and with non-party

     Virginia Voters Alliance (“VVA”) to draft, publish and publicize Alien Invasion I and Alien

     Invasion II. As set forth below, the publication and dissemination of those reports violated

     the civil rights of Plaintiffs and defamed them.


    Defendants Make Their Initial False Allegations in a Report Entitled “Alien Invasion I”

        23.     Alien Invasion I was published in September 2016.6 Defendant PILF and non-

     party VVA were the named authors of the report. On information and belief, Defendant

     Adams participated in the drafting of the report. Defendant Adams participated in the

     publication and dissemination of the report through authoring articles and granting media

     interviews.7




6
 The report is available online at https://publicinterestlegal.org/files/Report_Alien-Invasion-in-
Virginia.pdf (last accessed April 11, 2018).
7
 See, e.g., J. Christian Adams, Yes, Virginia, Aliens Are Registered or Voting … and in
Pennsylvania, by the Thousands, PJ MEDIA (Oct. 3, 2016),
https://pjmedia.com/jchristianadams/2016/10/03/yes-virginia-aliens-are-registered-and-voting-
and-in-pennsylvania-by-the-thousands/.



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         24.     Defendants publicized Alien Invasion I to national media via press releases and

     postings on Facebook and Twitter. Media outlets further disseminated the report’s assertions

     to a broad audience.8

         25.     Alien Invasion I accuses the voters named in it of committing multiple, separate

     felonies, from illegally registering to vote to casting an ineligible ballot.

         26.     The report characterizes the existing voter registration system as an “ineffective

     honor system under which the alien need merely lie to get on the voter rolls.” Ex. A, at 1.

     The report then asserts that Defendants and VVA had “found 1046 aliens who registered to

     vote illegally.” Ex. A, at 2 (emphasis in original). The report explains that “[w]hen non-

     citizens register or actually vote, they violate both state and federal statutes because

     citizenship is a requirement to vote in both state and federal elections.” Ex. A, at 3.

         27.     Alien Invasion I purports to base its accusation that non-citizens have voted

     illegally on “list[s] of registrants who had been purged from the voter rolls because they

     were determined to not be U.S. citizens.” Ex. A, at 6 (emphasis in original); see also Ex.

     A, at 12 (“This data is but a minor snapshot. . . . It represents non-citizen registrants. . . and

     includes only those non-citizens that were discovered to have been improperly registered. . .”

     (emphasis added)).

         28.     The report asserts the discovery of multiple lists of non-citizen felons in the

     following Virginia counties:




8
 See, e.g., Neil W. McCabe, Illegal Foreign Voting in Virginia Covered Up By Soros-Backed
Democratic Officials, Says Report, BREITBART NEWS (Oct. 2, 2016),
http://www.breitbart.com/big-government/2016/10/02/virginia-illegal-voting-fraud-coverup/.



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           x   Alexandria. See Ex. A, at 6 (alleging that “70 registrants . . . had been removed

               from Alexandria’s registration lists after they were determined to not be U.S.

               citizens” (bold in original)).

           x   Bedford. See Ex. A, at 8 (stating county “provided a list of 35 non-citizens that

               had been removed from their voter rolls”).

           x   Prince William. See Ex. A, at 7 (“Prince William County provided a list of 433

               non-citizens who had registered to vote in the county, but were then removed

               after they were determined to not be U.S. citizens.” (bold and italics in

               original)).

           x   Roanoke. See Ex. A, at 8 (claiming county “provid[ed] a list of 22 alien

               registrants” (bold in original)).

     29.       The report’s exhibits then provide lists of the alleged felons by name. Plaintiff

  Luciania Freeman was listed in Alien Invasion I, along with her contact information,

  including address and phone number. See Ex. C (containing the page from the report’s

  Exhibits 1 and 7 which lists Ms. Freeman).

     30.       The clear implication of Alien Invasion I to an objectively reasonable reader is

  that Ms. Freeman, resident of Prince William County, and other listed individuals should not

  have registered or voted, and by doing so, committed felonies under state or federal law. The

  report states clearly: “The United States Attorney in Virginia has done nothing about the

  felonies committed by 433 aliens registering in Prince William County alone.” Ex. A, at 8

  (italics added, bold in original)); see also Ex. A, at 2 (claiming the discovery of “1046 aliens

  who registered to vote illegally” (bold and italics in original)).




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       31.     Labeling the individuals named in the reports as non-citizens and therefore felons

    with reckless disregard for the truth of those accusations acts to intimidate and threaten those

    individuals and to deter them from voting or registering to vote. Indeed, Defendant Adams

    suggested to Breitbart News that these individuals should be prosecuted:

       “When an alien registers to vote, it is a felony . . . . When an alien votes, it is multiple
       felonies. DOJ under Obama has stopped enforcing this law. We name the names of the
       registered voters removed from the rolls for citizenship problems. Will DOJ prosecute
       any of them?”9

       32.     Defendants’ felony accusations are false. The county registrar information relied

    on by Defendants and VVA does not establish that any particular voter is a not a citizen or

    that their conduct is felonious. The registrar lists simply establish that certain voters were

    removed from the voting rolls, which Defendants know can occur for various reasons—

    including accidental failures to respond to government inquiries or routine paperwork errors.

    In fact, Plaintiff Freeman is a natural-born United States citizen and an eligible voter in the

    state of Virginia where she is registered. Hers was a case of paperwork error, in which a

    government official mistakenly believed that she was a non-citizen based on a Department of

    Motor Vehicles form. In going beyond what the registrar’s information actually establishes

    and accusing people like Ms. Freeman of committing felonies, Defendants not only defame

    these individuals, but also intentionally intimidate and threaten these individuals and other

    potential voters to deter them from registering to vote and voting.

       33.     On information and belief, before Defendants published Alien Invasion I, Virginia

    elections officials informed Defendants that they were drawing false conclusions from the



9
 Neil W. McCabe, Illegal Foreign Voting in Virginia Covered Up By Soros-Backed Democratic
Officials, Says Report, BREITBART NEWS (Oct. 2, 2016) (emphasis added),
http://www.breitbart.com/big-government/2016/10/02/virginia-illegal-voting-fraud-coverup/.



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      registrar information and running the significant risk of wrongfully accusing constitutionally

      eligible voters of committing felony voter fraud. Despite these warnings, Defendants

      intentionally accused people like Ms. Freeman and others of committing felonies by

      registering to vote and voting.

         34.        On information and belief, critical media reports made Defendants further aware

      of the methodological shortcomings in Alien Invasion I after its release.10 Virginia election

      officials also informed Defendants of the methodological deficiencies of Alien Invasion I

      before Alien Invasion II was published. See Ex. B, at 10.


     Despite Notice of the Flaws in their Approach, Defendants Continued Their Defamation

                     and Intimidation Campaign By Publishing Alien Invasion II

         35.        Less than one year after publishing Alien Invasion I, Defendants continued their

      campaign of defamation and intimidation with the publication of Alien Invasion II in May of

      2017.11 As the name suggests, Alien Invasion II was intended to be a sequel to Alien

      Invasion I.

         36.        Again, Defendants worked to publicize Alien Invasion II to national media via

      press releases and postings on Facebook and Twitter. Media outlets again further




10
  See Peter Galuszka, An Alien Invasion in the Old Dominion, WASHINGTON POST (Oct. 10,
2016), https://www.washingtonpost.com/blogs/all-opinions-are-local/wp/2016/10/06/an-alien-
invasion-in-the-old-dominion/?utm_term=.9aa4b72108fa.
11
  The report is available online at https://publicinterestlegal.org/files/Alien-Invasion-II-
FINAL.pdf (last accessed April 11, 2018).



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     disseminated the report’s assertions to a broad audience.12

        37.     PILF and VVA were the named authors of Alien Invasion II. Defendants

     conspired and worked in concert with each other and with VVA to develop and publish this

     second defamatory report. On information and belief, Defendant Adams participated in the

     drafting of the report. Defendant Adams again participated in the publication and

     dissemination of the report.

        38.     Alien Invasion II affirmatively reiterates the accusation in Alien Invasion I that

     certain voters in a number of Virginia jurisdictions, including the Richmond area (where

     Plaintiff LULAC operates), were guilty of committing one felony by registering to vote and

     likely guilty of committing another felony by actually voting:

        Ex. B, at 6 (“Among the records uncovered at Ms. Leider’s office was a list of

        registrants who had been removed from the voter rolls because they were

        determined to not be U.S. citizens.” (bold in original)); Ex. B, at 6 (“Prince William

        County provided a list of 433 noncitizens who had registered to vote in the county,

        but were then removed after they were determined to not be U.S. citizens. . . . The

        Department of Justice so far has done nothing about the felonies committed by 433

        suspected aliens registered in Prince William County alone.” (italics added, bold in

        original)); Ex. B, at 7 (“Bedford County provided a list of 35 non-citizens that had been

        removed from the voter rolls.”); Ex. B, at 7 (noting the discovery of “list of 22 alien

        registrants” in Roanoke (bold in original)); see also Ex. B, at 1 (“[Alien Invasion I]




12
  See, e.g., Brandon Darby, Watchdog Claims 5K Noncitizens Registered to Vote in Virginia,
BREITBART NEWS (May 30, 2017), http://www.breitbart.com/texas/2017/05/30/5k-noncitizens-
registered-vote-virginia-report-finds/.



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      revealed that in these eight Virginia localities more than 1,000 non-citizens had recently

      been removed from the voter rolls. In this small sample, nearly 200 verified ballots were

      cast prior to official removal. Each one of them is likely a felony.” (emphasis added)).

      39.     Alien Invasion II was released in the wake of President Trump’s unsupported

  allegations of massive voter fraud in the 2016 elections and the May 11, 2017, establishment

  of the Presidential Advisory Commission on Election Integrity—developments that

  Defendants might have expected to amplify the impact of their defamatory publication.

      40.     Alien Invasion II alleges that 5,500 illegal registrations in Virginia resulted in

  7,474 “Votes Cast By Non-Citizens” in recent Virginia elections. See Ex. B, at 2. The report

  imputes to each of those allegedly illegally registered individuals the commission of multiple

  felonies. Ex. B, at 3 (“When non-citizens register or actually vote, they violate both state and

  federal statutes because citizenship is a requirement to vote in both state and federal

  elections.”); Ex. B, at 12 (“Each time an alien registers a crime is committed.”); Ex. B, at 15

  (“Over 1,100 non-citizens were discovered on the voter rolls in Fairfax County. These

  individuals cast over 1,000 ballots before they could be removed from the rolls. . . . It

  makes no difference whether alien votes were cast as a result of confusion or on purpose.

  Each is a felony . . .” (italics added, bold in original)).

      41.     Alien Invasion II was published along with a roughly eight-hundred-page

  appendix containing voter registration forms, which included the names, home addresses, and

  telephone numbers of the alleged felons. The published appendix originally included several

  voter registration forms with social security numbers before Defendants redacted that

  information.




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        42.     Plaintiffs’ names, home addresses, and telephone numbers were included in the

     exhibits to Alien Invasion II. See Ex. D (containing the pages from the report’s Exhibit 1,

     which lists Luciania Freeman (at page 258) and Eliud Bonilla (at page 100), and from the

     report’s Exhibit 12, which lists Jeanne Rosen (at page 48), Abby Jo Gearhart (at page 96-

     9713), Eliud Bonilla (at page 217), and Luciania Freeman (at page 831)).

        43.     Subsequently, Defendants published a revised version of the appendix to Alien

     Invasion II, with a self-serving and dubious explanatory footnote stating that “Exhibit 12 was

     updated after the discovery that some records were erroneously disclosed by the

     Commonwealth of Virginia which reflected individuals incorrectly categorized in the official

     voter registration archive as being ‘declared non-citizens’. Those Records were removed.”

     As a consequence, Plaintiffs Abby Jo Gearhart and Jeanne Rosen no longer appear as part of

     Alien Invasion II in the version of the report presently available on Defendant PILF’s

     website. However, Eliud Bonilla and Luciana Freeman continue to appear on pages 164 and

     748 of the revised Exhibit 12, respectively, and continue to be defamed as non-citizens

     engaged in voter fraud.

        44.     Alien Invasion II unequivocally accuses Plaintiffs of having committed a felony

     under federal and state law by improperly registering to vote and the clear implication of the

     report to an objectively reasonable reader is that Plaintiffs are also guilty of a second felony

     by actually voting. In making such false accusations, Defendants have acted to intimidate or

     threaten Plaintiffs for registering to vote and voting.




13
 Ms. Gearhart’s registration uses her maiden name (Sharpe) and a name from a previous
marriage (Focht).



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        45.       By labeling the individuals named in the report as non-citizens and felons with

     reckless disregard for the truth of those accusations, Defendants act to intimidate and threaten

     those individuals and to deter them from voting or registering to vote. In a contemporaneous

     article, Defendant Adams advocates prosecuting the individuals named in the report for voter

     fraud:

                [The Public Interest Legal Foundation] obtained 700 pages of similar examples. . .
        All can be accessed by law enforcement personnel at this link. . . The [] report documents
        election felonies piled on top of felonies.
                Federal law 52 U.S.C. Section 20511 makes it a felony to submit a false voter
        registration form. Federal law 18 U.S.C. Section 1015 makes it a crime to make a false
        statement to register to vote. Federal law 18 U.S.C. Section 611 makes it illegal for
        foreigners to cast a ballot. Virginia law also criminalizes the casting of an illegal ballot.
               So you may think there should have been hundreds, or even thousands, of voter
        fraud prosecutions in Virginia in the last few years. Again, you’d be wrong.
                  And it’s not for a lack of information. . .
                  ...
              In another American age, when government records revealed that crimes were
        committed by the hundreds or thousands . . .everyone would have cared. . .
                  Let’s see what happens . . .
              Maybe, just maybe, those tasked with enforcing the law at the United States
        Department of Justice and county prosecutors will ignore the nonsense and click the
        links—where hundreds of pages of real evidence can be found.14

     Plaintiffs’ names and contact information were listed on those so-called “pages of real

     evidence.”




14
   J. Christian Adams, Alien Invasion: Thousands of Foreigners Registered to Vote (and Voting)
in Virginia, PJ MEDIA (May 30, 2017) (emphasis added),
https://pjmedia.com/jchristianadams/2017/05/30/alien-invasion-thousands-of-foreigners-
registered-to-vote-and-voting-in-virginia/.



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                            Defendants’ Felony Accusations Are False

        46.     Defendants’ felony accusations are false. The lists provided by the county

     registrars do not establish that any particular voter is actually a non-citizen (and by

     implication guilty of committing a felony). The lists simply establish that certain voters were

     removed from the voting rolls, which Defendants know can occur for various reasons—

     including accidental failures to respond to government inquiries or routine paperwork errors.

     Subsequent media reports also noted that Virginia’s election commissioner (as well as certain

     voters who themselves had been accused of felonies) vigorously disputed the accusations. In

     response to a state legislator’s inquiry about Alien Invasion II, Virginia Commissioner of

     Elections Edgardo Cortes stated that “[n]othing in this process necessarily confirms non-

     citizenship – only that inconsistent information has been provided,” and that Adams and the

     Public Interest Legal Foundation “were uninterested in the context [and] had their own

     narrative they wanted to tell.”15

        47.     In fact, Plaintiffs are United States citizens. They are therefore factually innocent

     of the false charges of felony voter fraud leveled by Defendants in the Alien Invasion reports.


      Defendants’ False Accusations Have Imposed Substantial Harms on Plaintiffs and

                              Interfered with Plaintiffs’ Civil Rights

        48.     Plaintiffs have suffered and continue to suffer various and extensive injuries

     because of Defendants’ actions. Each Plaintiff has been falsely accused of having committed

     one or more felonies by registering to vote and actually voting as alleged non-citizens. Each



15
  See Jane C. Timm, Vote Fraud Crusader J. Christian Adams Sparks Outrage, NBC NEWS
(Aug. 27, 2017), https://www.nbcnews.com/politics/donald-trump/vote-fraud-crusader-j-
christian-adams-sparks-outrage-n796026.



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  Plaintiff has been subjected to adverse publicity on a national level; various media reported

  on the “Alien Invasion” reports and provided internet links to PILF’s website and/or to the

  reports and their appendices, which contained sensitive contact information for Plaintiffs and

  are still largely accessible online. This embarrassment and harm to their reputation—having

  been wrongly accused of committing felonies—was compounded when Defendant Adams

  ensured that the report and its appendices (including Plaintiffs’ names) were made a part of

  the record of the Presidential Commission, which received extensive national press coverage.

     49.      Plaintiffs have been and continue to be intimidated and threatened by

  Defendants’ campaign of defamation. In addition to the embarrassment and reputational

  harm that they have already suffered, Plaintiffs fear that the defamatory material will lead to

  a variety of adverse effects. For example, Plaintiff Bonilla, who considered running for

  public office one day, fears and expects that the fact that his name is a part of a public record

  wrongly accusing him of being a non-citizen and having committed felonies, will subject him

  to “birther” conspiracies like the ones that plagued President Barack Obama. He also worries

  about the potential impact the publication of this erroneous information could have on his

  family. These accusations may deter him from exercising his right to run for public office.

  As a further example, Plaintiff Freeman fears for her physical safety because she has been

  accused of illegal voting and her name and contact information are publicly available. She

  also fears that her current or future employer could take adverse action against her because

  she has been falsely accused of a crime. She fears that, if someone could erroneously include

  her name and personal information in a report accusing her of committing crimes, then

  authorities relying on the same publication could arrest or prosecute her based on mistaken

  beliefs about her citizenship. Plaintiff Rosen feared that her right to vote would be disputed




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     when she reported to vote in the 2017 general election as a result of being listed in

     Defendants’ report and continues to fear that inclusion in the report will permanently affect

     her ability to vote and have her votes counted in the future. Likewise, Plaintiff Gearhart has

     been intimidated by the false accusations in the report. Specifically, Plaintiff Gearhart fears

     her ability to vote may be challenged in the future and fears that she will be the target of

     harassment or violence. Given the inclusion of her personal information in the report,

     Gearhart has chosen not to remove a home security system and has decreased her

     involvement in political activities.

        50.     Plaintiffs have a legitimate concern regarding harassment and physical

     safety. The reports were picked up by a number of media outlets which wrote articles that

     linked to the reports or to the PILF website. The comment sections to those articles

     contained numerous threatening statements concerning those who were alleged to have

     fraudulently registered to vote or voted, with commenters, for example, calling for people to

     be “shot,” “executed,” “deported,” or “imprisoned.” 16




16
   Neil W. McCabe, Illegal Foreign Voting in Virginia Covered Up By Soros-Backed
Democratic Officials, Says Report, BREITBART NEWS (Oct. 2, 2016),
http://www.breitbart.com/big-government/2016/10/02/virginia-illegal-voting-fraud-coverup/.



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  And now these commenters have access to physical addresses and phone numbers, thanks to

  Defendants’ publications.

     51.     The Alien Invasion reports further incite the already-heated rhetoric and

  discrimination against Latino and immigrant communities. Indeed, the comments to media

  articles on the Alien Invasion mix anti-immigration sentiments with views on the reports.

  Plaintiff LULAC has devoted and will continue to devote critical and limited organizational

  resources to ensuring that Latino voters are not deterred from participating in the electoral

  process.




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                                              COUNT 1

                                         42 U.S.C. § 1985(3)

     52.     Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

  herein.

     53.     Plaintiffs bring a claim under the second clause of 42 U.S.C. § 1985(3), which

  provides that:

     If two or more persons in any State or Territory conspire or go in disguise on the highway
     or on the premises of another, for the purpose of depriving, either directly or indirectly,
     any person or class of persons of the equal protection of the laws, or of equal privileges
     and immunities under the laws; or for the purpose of preventing or hindering the
     constituted authorities of any State or Territory from giving or securing to all persons
     within such State or Territory the equal protection of the laws; if two or more persons
     conspire to prevent by force, intimidation, or threat, any citizen who is lawfully entitled
     to vote, from giving his support or advocacy in a legal manner, toward or in favor of
     the election of any lawfully qualified person as an elector for President or Vice
     President, or as a Member of Congress of the United States; or to injure any citizen in
     person or property on account of such support or advocacy; in any case of conspiracy
     set forth in this section, if one or more persons engaged therein do, or cause to be done,
     any act in furtherance of the object of such conspiracy, whereby another is injured in his
     person or property, or deprived of having and exercising any right or privilege of a citizen
     of the United States, the party so injured or deprived may have an action for the
     recovery of damages occasioned by such injury or deprivation, against any one or more
     of the conspirators. (emphases added)

     54.     Defendants conspired with each other and with VVA to knowingly accuse

  constitutionally eligible voters, including Plaintiffs, of having committed felony voter fraud

  with the purpose of intimidating those and other voters in an effort to prevent them from

  voting or registering to vote.

     55.     Defendants’ publication of the Alien Invasion reports constituted substantial steps

  in furtherance of that conspiracy.




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     56.     Defendants either knew or should have known at the time they published and

  publicized the reports that they were accusing multiple United States citizens who were

  constitutionally eligible voters, including Plaintiffs, of committing felony voter fraud.

     57.     By advocating for the prosecution of the ostensibly “non-citizen” voters published

  in the Alien Invasion reports and suggesting they could risk severe penalties, including

  significant jail time, if they voted, Defendants hoped to deter these constitutionally eligible

  voters from voting in upcoming elections.

     58.     Additionally, by publishing the names and contact information of these

  constitutionally eligible voters in the Alien Invasion reports—thereby making them available

  to “ballot security” activists to “monitor” their voting—and by heavily publicizing the report

  on TV, radio, and online media using incendiary rhetoric (including lamenting the failure of

  law enforcement official to prosecute any of the published “non-citizen” voters), Defendants

  aimed to foment public outrage in an effort to intimidate these voters.

     59.     Defendants’ multiyear, ongoing defamation campaign did intimidate Plaintiffs

  and would intimidate an objectively reasonable individual named in either of the Alien

  Invasion reports, and thereby discourage or prevent the named individual from either

  registering or attempting to vote, for fear of the repercussions of being publicly accused of a

  felony.

     60.     Defendants maliciously persist in their efforts to continue publicizing the names

  and contact information of Plaintiffs and other voters, even after knowing that they have

  accused innocent voters of having committed voter fraud.

     61.     Plaintiffs Eliud Bonilla, Luciania Freeman, Abby Jo Gearhart, and Jeanne Rosen,

  each of whom was constitutionally eligible to vote in Virginia, were injured and continue to




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  be injured by being wrongly accused as having committed multiple felonies and having their

  contact information (including home addresses, email addresses, and phone numbers)

  published.

     62.       Defendants’ campaign of defamation is calculated to cause and has caused

  Plaintiffs to fear that the publication of false accusations and personally identifying

  information will subject them to harassment, malicious prosecution, physical harm, or other

  repercussions from people believing they have committed voter fraud. For some, their names

  continue to be associated with those accusations, so the harms persist. Defendants’ conduct

  is aimed at deterring Plaintiffs from exercising their voting rights.

     63.       Plaintiff LULAC has been and continues to be injured by Defendants’ publication

  of these reports. LULAC’s members and the Latino community LULAC represents have

  been and continue to be intimidated and threatened by Defendants asserting that registering

  to vote and/or voting constitutes an unlawful “alien invasion” that should be prosecuted. The

  Latino community, including members of LULAC, will be discouraged from participating in

  the electoral process as a direct result of Defendants’ conduct.

     64.       Plaintiff LULAC has been and continues to be injured by Defendants’ publication

  of these reports because it impedes one of LULAC’s core goals, the promotion of political

  participation. Instead of engaging in its ordinary course initiatives, LULAC must devote

  time and resources to combat the false narrative that Latinos who vote are doing so illegally.

  Voters in Latino communities are already subject to scorn and discrimination because of

  heated rhetoric directed against Latino and immigrant communities. For example, in the

  recent 2017 Virginia gubernatorial election, the rampant propagation of derogatory

  information and generalizations associating Latinos with gangs such as MS-13 or painting




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  them as criminals caused much despair and despondence amongst the Latino community in

  the larger Richmond area. Similarly, the Alien Invasion reports, which falsely accused many

  Latino voters as being noncitizens who were guilty of committing voter fraud, created an

  environment that deters constitutionally eligible Latino voters from exercising their

  fundamental right to vote.

      65.     LULAC expended substantial time and effort combatting this heated rhetoric, and

  was required to divert significant resources to combatting and remedying those harms. For

  example, LULAC was the recipient of a two-year grant to improve Latino graduation rates in

  the Richmond community. They had planned to begin implementing this program in local

  middle schools and high schools with high Latino populations at the beginning of the 2017

  school year. However, because LULAC had to redirect its resources to combat the heated

  rhetoric against Latinos as non-citizens or worse and amplify their Latino voter mobilization

  efforts, LULAC had to delay the start of this program until after 2017 elections. As a result

  of this delay, LULAC is further behind in achieving their intended goals for the education

  initiative and is still continuing to play catch-up.

      66.     Unless enjoined by the Court, Defendants, and those acting in concert with them,

  will continue to violate Section 1985(3) by continuing to conspire to publish and publicize

  their Alien Invasion reports that intimidate and attempt to intimidate constitutionally eligible

  voters by subjecting them to false felony accusations on the internet and in national media,

  and/or risk harm and harassment by voter protection vigilantes.




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                                             COUNT 2

                               Section 11(b) of the Voting Rights Act

     67.     Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

  herein.

     68.     Section 11(b) of the Voting Rights Act provides that:

             No person, whether acting under color of law or otherwise, shall intimidate,
             threaten, or coerce, or attempt to intimidate, threaten, or coerce any person for
             voting or attempting to vote, or intimidate, threaten, or coerce, or attempt to
             intimidate, threaten, or coerce any person for urging or aiding any person to vote
             or attempt to vote, or intimidate, threaten, or coerce any person for exercising any
             powers or duties under section 10302(a), 10305, 10306, or 10308(e) of this title or
             section 1973d or 1973g of Title 42.

  52 U.S.C. § 10307.

     69.     Defendants violated Section 11(b) of the Voting Rights Act by intentionally

  publishing and publicizing Alien Invasion and Alien Invasion II as part of a reckless, ongoing

  defamation campaign.

     70.     The defamation campaign intimidated, threatened, or coerced, and/or attempted to

  intimidate, threaten, or coerce the constitutionally eligible voters recklessly and falsely

  accused of committing felony voter fraud in the Alien Invasion I and Alien Invasion II into

  refraining from engaging in future voting-related activities. Defendants’ accusations would

  intimidate an objectively reasonable individual named in either Alien Invasion I or Alien

  Invasion II and thereby discourage or prevent the named individual from either registering or

  attempting to vote regardless of whether that individual was constitutionally eligible to vote

  in Virginia.

     71.     Through the continued publication of the defamatory reports, Defendants

  intimidate or attempt to intimidate Plaintiffs and others similarly situated from exercising




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  their constitutional right to register to vote and vote. Defendants’ conduct has instilled fear

  in Plaintiffs that they will not be able to successfully exercise their right to vote in the future,

  and/or that engaging in such voting activity will subject them to further false accusations,

  false prosecution, harassment, threats to safety, or economic hardship.

      72.     As detailed above, Plaintiff LULAC has been and continues to be injured, both as

  an organization and as a representative of its membership and the Latino community in the

  Richmond area.

      73.     Unless enjoined by the Court, Defendants will continue to violate Section 11(b) of

  the Voting Rights Act by continuing to publicize their Alien Invasion reports that intimidate

  or attempt to intimidate Plaintiffs and potential voters by implying that as a consequence of

  lawfully registering and/or voting, they will repeatedly face false felony accusations on the

  internet and the national news.

                                                COUNT 3

                                               Defamation

                        [Plaintiffs Bonilla, Freeman, Gearhart, and Rosen, only]

      74.     Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

  herein.

      75.     Defendants published the Alien Invasion I and Alien Invasion II reports. Those

  reports defame Plaintiffs by falsely asserting that Plaintiffs Eliud Bonilla, Luciania Freeman,

  Abby Jo Gearhart, and Jeanne Rosen were non-citizens who committed felony voter fraud by

  registering to vote and/or voting. See, e.g., Ex. B, at 13 & n.69 (“For the remaining 702 non-

  citizen registrants, getting on the voter rolls was as easy as checking “yes” to the citizenship

  question . . . . The voter registration applications are produced at Exhibit 12”); Ex. D




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  (containing the registration forms from Alien Invasion II’s Exhibit 12, which lists Jeanne

  Rosen (at page 48 of Exhibit 12), Abby Jo Gearhart (at pages 96-97), Eliud Bonilla (at page

  217), and Luciania Freeman (at page 831); Ex. B, at 12 (“Non-citizen registration and voting

  matters. Each time an alien registers a crime is committed. When an alien votes . . .

  another crime [is] committed.” (bold in original)); Ex. B, at 2 (“Simply put, it is a felony

  for a non-citizen to register and to cast a ballot. Each time such a crime is perpetrated . . .”);

  Ex. B, at 3 (“When non-citizens register or actually vote, they violate both state and federal

  statutes . . .”); Ex. B, at 5 & n.5 (“The numbers are alarming: 5,556 non-citizens have

  been removed from the voter rolls for citizenship problems . . . . The cancellation reports

  for all 120 counties are available at Exhibit 1 at the link provided on page 1 of this report.”

  (bold in original)); Ex. D (containing the pages from the report’s Exhibit 1, which lists

  Luciania Freeman (at page 258) and Eliud Bonilla (at page 100)); Ex. B, at 1 (“It is not

  unreasonable to conclude that the full, and unknown, extent of non-citizens registered to vote

  far exceeds the 5,500-plus who were removed.”); Ex. B, at 1 (“Despite obstruction from

  local and state officials, the Public Interest Legal Foundation (PILF) expanded the non-

  citizen investigation to the entire Commonwealth. As a result, the number of

  registrants removed from voter rolls for citizenship problems during the last few

  election cycles grew to over 5,500. Of these illegal registrants, 1,852 cast nearly 7,500

  ballots in elections dating back to 1988.” (italics added, bold in original)); Ex. B, at 15

  (“The accidental discovery of over 5,500 non-citizens . . . ”); Ex. B, at 6 & n.32 (“Prince

  William County provided a list of 433 noncitizens who had registered to vote in the

  county, but were then removed after they were determined to not be U.S. citizens . . . .

  An updated cancellation report subsequently received from the Department of Elections lists




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  the “Declared Non-Citizen Total” as 443. See Exhibit 1.” (bold in original)); Ex. B, at 6

  (“The Department of Justice so far has done nothing about the felonies committed by

  433 suspected aliens registered in Prince William County alone.” (bold in original)); Ex.

  B, at 13 (“The Fairfax County board had discovered 278 registered voters who had

  represented to the DMV that they were not U.S. citizens. Almost half of them—117—had

  not only registered to vote, they had in fact voted in state and federal elections. The

  Department of Justice never followed up, leaving nearly 300 gift-wrapped cases of voter

  fraud untouched.” (bold in original)); Ex. B, at 15 (“Over 1,100 non-citizens were

  discovered on the voter rolls in Fairfax County. These individuals cast over 1,000

  ballots before they could be removed from the rolls.” (bold in original)); Ex. B, at 1 & n.1

  (“In October 2016, looking at data from only eight Virginia counties, we uncovered proof

  that large numbers of ineligible aliens are registering to vote and casting ballots. Our

  investigation revealed that in these eight Virginia localities more than 1,000 non-citizens had

  recently been removed from the voter rolls. In this small sample, nearly 200 verified ballots

  were cast prior to official removal. Each one of them is likely a felony. . . .

  https://publicinterestlegal.org/blog/reportineligible-aliens-registering-vote-casting-ballots/.”)

  Ex. A, at 2 (“[W]e found 1046 aliens who registered to vote illegally.” (emphasis in

  original)); Ex. A, at 8 (“The United States Attorney in Virginia has done nothing about

  the felonies committed by 433 aliens registering in Prince William County alone.” (bold

  in original)); Ex. C (containing the pages from the report’s Exhibits 1 and 7 which lists Ms.

  Freeman).

     76.      Those reports are false statements of fact and are defamatory per se because they

  falsely impute to Plaintiffs the commission of crimes of moral turpitude. Plaintiffs Eliud




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  Bonilla, Luciania Freeman, Abby Jo Gearhart, and Jeanne Rosen are United States citizens

  that are, or were, constitutionally eligible to vote in Virginia when they voted in Virginia.

      77.     Plaintiffs Eliud Bonilla, Luciania Freeman, Abby Jo Gearhart, and Jeanne Rosen

  are private citizens and are not public figures or limited public figures.

      78.     Defendants’ libelous statements were false when made, were made without regard

  to their truth or falsity, and were made for the purpose of and with the intent of damaging the

  reputation of Plaintiffs or with reckless disregard of their effect on the reputation of

  Plaintiffs. Specifically, Defendants recklessly and maliciously failed to exercise due care and

  diligence before publishing the defamatory statements. A failure to respond to a government

  notice from the registrar of voters and/or removal from the voting rolls establishes neither

  that someone is a non-citizen nor that they committed voter fraud.

      79.     Defendants published the defamatory statements with actual malice because they

  acted with reckless disregard for the truth of whether plaintiffs had illegally registered to vote

  and/or illegally voted.

      80.     Defendants’ false statements have impeached, injured, and damaged Plaintiffs.

      81.     As an actual and proximate cause of Defendants’ conduct in making such false

  statements, Plaintiffs have sustained harm, including damages in an amount to be determined

  at trial.

      82.     Unless enjoined by the Court, Defendants, and those acting in concert with them,

  will continue to publish the defamatory statements.


                                    PRAYER FOR RELIEF

      Plaintiffs pray for relief as follows:

  1. That the Court determine that it has jurisdiction over this action.



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  2. That the Court declare that Defendants have violated 42 U.S.C. §1985(3).

  3. That the Court declare that the Defendants have violated Section 11(b) of the Voting

     Rights Act.

  4. That the Court declare that the Defendants have defamed the Plaintiffs in violation of

     Virginia law.

  5. That the Court award compensatory and consequential damages in an amount to be

     determined at trial to compensate the Plaintiffs for the injuries that they have suffered as

     a result of Defendants’ unlawful conduct.

  6. That the Court award punitive damages as provided by law and as proved at trial to

     punish Defendants for the publication of defamatory statements with actual malice.

  7. That the Court award attorneys’ fees and litigation costs to Plaintiffs’ attorneys.

  8. That the Court enjoin Defendants and anyone acting in privity with the Defendants from

     further violations of the law.

  9. That the Court grant all other and further relief as it may deem necessary and appropriate.


                                      JURY DEMAND

     Plaintiffs demand a jury trial of all issues so triable. See Fed. R. Civ. P. 38.




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Dated this 12th Day of April 2018.



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                                  Exhibit A




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                “‘The recount is almost over, and in this contest for
               attorney general … it’s become apparent that our
               campaign is going to come up a few votes short,’
               Obenshain said, noting that he’d already called Herring
               to offer his congratulations. ‘It was a vigorous and hard-
               fought campaign, but it’s over.’ Obenshain’s concession
               will end a recount process that began on Nov. 5, when
               the two candidates were separated by a razor-thin
               election night margin. Herring defeated Obenshain by
               165 votes out of more than 2.2 million votes cast,
               according to results certified by the Virginia Virginia
               Department of Elections on Nov. 25.”

                       - Politico, December 18, 2013, covering
                         Republican Mark Obenshain’s whisker thin loss
                         in the Virginia Attorney General’s race.


Only Americans Should Choose American Leaders
Citizenship is the most fundamental element of eligibility to vote in American elections. Every
state requires voters to be U.S. citizens to vote in state elections. 1 The Virginia Constitution,
specifically, delineates that “[e]ach voter shall be a citizen of the United States.” 2 Only
Americans should choose American leaders. Federal law makes it a crime for an alien to register
to vote or to vote in a federal election. Simply put, it is a felony for a non-citizen to register and
to cast a ballot. 3 Each time such a crime is perpetrated, whether by accident or willfully, a citizen
is effectively disenfranchised.

The right to vote free from dilution by aliens is safeguarded primarily in several places—all of
them appear to be failing to prevent aliens from participating in American elections and in the
Commonwealth of Virginia. On the front end, federal law requires election officials to use
reasonable efforts to identify and remove ineligible registrants from the voter rolls. The Federal
voter registration form purports to prevent aliens from registering to vote, but it is an ineffective
honor system under which the alien need merely lie to get on the voter rolls. On the back end,
federal and state law enforcement officials are entrusted with prosecuting non-citizens who
register and vote as a means to deter others from doing the same. Here too, the system is failing
because the Obama administration has ignored instance after instance of voter fraud.

1
  See U.S. Dept. of Just., Federal Prosecution of Election Offenses 66 (7th ed. 2007), available at
https://www.justice.gov/sites/default/files/criminal/legacy/2013/09/30/electbook-rvs0807.pdf
2
  Va. Const., Art. II, Sec. 1.
3
  18 U.S.C. § 1015(f). It is also a felony for an individual to simply “falsely and willfully
represent[] himself to be a citizen of the United States.” 18 U.S.C § 911.

                                                  1

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In practice, none of these so-called safeguards is functioning correctly. Based on voting history
records, large numbers of ineligible aliens are registering to vote and casting ballots. They are
canceling out the valid votes of American citizens. In some Virginia jurisdictions, the number of
people registered to vote exceeds the number of citizens eligible to vote. When the Justice
Department has been told of aliens registering to vote and committing federal felonies, nothing is
done.

Summary of Findings
An investigation in Virginia by the Public Interest Legal Foundation (PILF) and the Virginia
Voter’s Alliance (VVA) shows that the cause of this problem is something much worse than
simple ineffective governance. Worse still, Virginia state election officials are obstructing access
to public records that reveal the extent to which non-citizens are participating in our elections.
These obstructionist tactics have led to PILF and VVA obtaining data from only a handful of
Virginia counties so far. But the information from a few counties demonstrates a massive
problem.

In our small sample of just eight Virginia counties who responded to our public inspection
requests, we found 1046 aliens who registered to vote illegally.

The problem is most certainly exponentially worse because we have no data regarding aliens on
the registration rolls for the other 125 Virginia localities. Even in this small sample, when the
voting history of this small sample of alien registrants is examined, nearly 200 verified ballots
were cast before they were removed from the rolls. Each one of them is likely a felony.

Again, this is from just a small sampling of Virginia counties. Each of the aliens we have
discovered to have registered or voted has likely committed a felony. Will the Justice
Department act now that their names, registration records and dates of voting are herein
provided?

Ultimately, the number of illegal votes doesn’t matter when the integrity of the process is at
stake. Nobody should tolerate voter fraud, whether it comes in bunches as we describe here,
happens occasionally, or decides the outcome of an election. Lawlessness in elections is a
precursor for lawlessness across our government and culture. The response of law enforcement
officials to both single instances of voter fraud and the hundreds of examples documented in this
report should be the same: swift, sure and unwavering. No excuses should be made for the
lawless who taint the electoral process.

                                                            In Virginia, like most states, there is
                                                            no formal program for identifying
 The most alien votes were cast in 2012, followed           non-citizen registrants. The
 by 2008, the year President Obama was elected to           Commonwealth formerly arranged to
 his first term.                                            use the Federal Systematic Alien
                                                            Verification for Entitlements (SAVE)
                                                            database to detect aliens, but vigorous

                                                 2

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use seems to have ended during the administration of Governor Terry McAuliffe. Most
discoveries of non-citizens on the registration rolls are accidental or chance. What this means is
that the number of registered non-citizens thus far identified by this investigation is just the “tip
of the iceberg.” The true extent of the problem likely runs in the thousands, if not more. And it is
not unique to Virginia.

There is plenty of blame to go around. One culprit, however, is glaringly obvious—federal and
state voter registration forms, which ask registrants to affirm their citizenship with nothing more
than the check of a box. No documentary proof of citizenship must be shown. It is nothing more
than an honor system, one that is unquestionably failing to keep non-citizens from voting. States
that have tried to remedy this problem by asking registrants to prove their citizenship with
documentary proof have uniformly been stonewalled by litigation brought by our own
Department of Justice and legions of attorneys working with left-leaning voter groups committed
to keeping ineligible voters on the rolls.

This report demonstrates the serious problem that unelected election officials have refused to
address and even conspired to hide. It is our hope that this report will result in swift change and
restore confidence in our elections.

When an alien completes a voter registration form, they commit a felony.
This report must begin with the relevant law. It is only with that in mind that the reader can
comprehend the gravity of the problem Virginia and other states are facing when it comes to
non-citizen participation in our elections. When non-citizens register or actually vote, they
violate both state and federal statutes because citizenship is a requirement to vote in both state
and federal elections.

The offenses a fraudulent voter might commit when he registers and votes are numerous:

   x   Virginia Code § 24.2-1004: Criminalizes casting an illegal ballot.
   x   Title 18, United States Code § 611: Criminalizes voting by illegal aliens in federal
       elections.
   x   Title 18, United States Code § 911: Criminalizes representing oneself to be a citizen of
       the United States.
   x   Title 18, United States Code § 1015: Criminalizes false statements in order to register to
       vote or to vote in any Federal, State, or local election.
   x   Title 52, United States Code § 20511: Criminalizes the fraudulent submission of voter
       registration applications and the fraudulent casting of ballots.

The United State Attorney General and the law enforcement officers in the Commonwealth of
Virginia are, respectively, authorized to prosecute violations of all of these statutes. Given that
the integrity of an election is where the consent of the governed is obtained, you would think that
federal and state elections officials would treat these crimes with appropriate seriousness. As will
be discussed later in this report, that is, however, not the case.


                                                  3

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The National Voter Registration Act and the Help America Vote Act
The problems in Virginia and other states can be traced as far back as 1993. Within months of
assuming the Presidency, Bill Clinton signed into law the National Voter Registration Act
(“NVRA”) 4, a sweeping piece of legislation that proponents claimed would increase the number
of registered voters and participation in our elections. One thing is for sure— it has increased the
number of ineligible voters on state voter rolls.

The NVRA, commonly known as “Motor Voter,” requires each state to offer voter registration to
any individual that applies for a driver’s license. 5 This provision of the law requires the applicant
to swear to his or her citizenship under penalty of perjury, 6 but does not permit nor deny the
state’s ability to verify citizenship through formal documentation. Instead, the law provides that
the states “may require only the minimum amount of information necessary to . . . enable State
election officials to assess the eligibility of the applicant and to administer voter registration and
other parts of the election process.” 7

Attempts by various states to require registrants to provide documentary proof of citizenship
during registration for federal elections have been thwarted by lawsuits brought by left-leaning
voter groups and the Department of Justice. Virginia therefore requires applicants to merely
check a box in order to “prove” their citizenship status.

The NVRA also allows
individuals to register to
vote through the mail using
the federal voter
registration form (the
“Federal Form”), a
document that is developed
and maintained by a
federal agency called the
Election Assistance Commission. In 2002, the Help America Vote Act added a citizenship
question to the Federal Form. 8 Like Virginia’s state registration form, the Federal Form requires
only that a registrant check a box to “prove” his or her citizenship. Under the NVRA, state are
required to “accept and use” the Federal Form for purposes of registration, 9 but the law does not
prevent states from applying their own eligibility requirements.



4
  52 U.S.C. § 20501 et seq.
5
  See 52 U.S.C. § 20504(a)(1) and (c)(1).
6
  52 U.S.C. § 20504(c)(2)(C).
7
  52 U.S.C. § 20504(c)(2)(B)(ii).
8
  52 U.S.C. § 21083(b)(4)(A)(i).
9
  52 U.S.C. § 20505(A)(1).

                                                  4

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The NVRA also imposes voter list maintenance and record keeping obligations. The law does
not contain of checklist of required actions, but rather states generally that election officials must
“conduct a general program that makes a reasonable effort to remove the names of ineligible
voters from the official lists of eligible voters by reason of . . . the death of the registrant or a
change in the residence of the registrant.” 10 What constitutes a “reasonable effort” is not
provided by the statute, which has often made litigation necessary to enforce these list
maintenance obligations.

Election officials must also “maintain for at least 2 years” and “make available for public
inspection” “all records concerning the implementation of programs and activities conducted for
the purpose of ensuring the accuracy and currency of official lists of eligible voters.” 11 Like the
NVRA’s list maintenance provision, the public inspection provision suffers from ambiguity,
allowing election officials to deny access to records based on their unilateral determination that
certain records are outside the scope of the statute. In one such example, the nonprofit
organization Project Vote endured three years of litigation simply to obtain copies of completed
voter registration applications requested from the General Registrar of Norfolk, Virginia—
records which the Fourth Circuit Court of Appeals ruled were “unmistakably” within the scope
of records that election officials must make publicly available for inspection. 12

PILF has filed four separate lawsuits in 2016 alone to force election officials to allow inspection
of their election records. In Virginia, election officials have opposed transparency and many
Virginia counties are not in compliance with federal law regarding our requests and may
yet be sued in federal court to obtain requested records.

The NVRA authorizes the federal Attorney General to enforce the NVRA’s mandates, including
the statute’s list maintenance and public inspection provisions. 13 However, this grant of authority
has been sparingly used during the Obama years because officials within the enforcing agency—
the Department of Justice Civil Rights Division—are ideologically opposed to enforcing this
federal law. Justice Department officials are aware of corrupted voter rolls, but their politics
prevent them from doing the right thing.




10
   52 U.S.C. § 20507(a)(4).
11
   52 U.S.C. § 20507(i).
12
   Project Vote / Voting for Am., Inc. v. Long, 682 F.3d 331 (4th Cir. 2012).
13
   52 U.S.C. § 20510(a).

                                                  5

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Obstruction Begins in Alexandria
The effort to obscure the number of non-citizens who are registering and voting in Virginia
began in the City of Alexandria.

In January 2016, the election integrity group Virginia Voter’s Alliance (VVA) contacted
Alexandria General Registrar Anna Leider, notifying her that based on implausible registration
data, her office appeared to be in violation of the NVRA’s mandate that she use reasonable
efforts to remove ineligible registrants. The letter additionally requested access to ten
categories of records concerning Ms. Leider’s list maintenance programs pursuant to the
NVRA’s public inspection provision.

In April 2016, PILF, on behalf of VVA and David Norcross, a private Alexandria citizen, sued
Ms. Leider under the NVRA’s private right of action, alleging that her office violated the NVRA
by refusing to provide inspection of election records and for failing to conduct reasonable list
maintenance practices.

After a court hearing where Alexandria said it would make the requested records available, VVA
then proceeded to visit Ms. Leider’s office to inspect the city’s records.

Among the records uncovered at Ms. Leider’s office was a list of registrants who had been
purged from the voter rolls because they were determined to not be U.S. citizens. The list
includes hundreds of non-citizen registrants, all of whom had likely committed felonies by
registering to vote.

When VVA asked to photocopy the list, Ms. Leider refused, contradicting her statements made
to the court. Her refusal, however, was directed by state election officials. Ms. Leider’s
attorney later stated that she cannot provide the list because of “guidance” from the
Virginia Department of Elections. The excuse was that the reason for a registrant’s
cancellation—including by reason of non-citizen status—is confidential, and such information
can neither be inspected nor duplicated.

A week later, and over eight months after the initial request was made, Ms. Leider finally
capitulated. Her attorney provided VVA with a list, identifying 70 registrants who had been
removed from Alexandria’s registration lists after they were determined to not be U.S.
citizens. These were just the aliens who were caught.

Records showing the removal of ineligible non-citizen registrants are quintessentially records
“concerning the implementation of programs and activities conducted for the purpose of ensuring
the accuracy and currency of official lists of eligible voters,” 14 records that must be made
available for public inspection under the NVRA. Yet it took months of negotiations and a
federal lawsuit to bring these records to the public’s attention.



14
     52 U.S.C. § 20507(i).

                                                6

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Did any of the non-citizens removed from Alexandria’s registration lists cast votes? Ms. Leider
wouldn’t tell PILF. According to her attorney, that information, too, is “confidential and
available only for official use by the Department of Elections and general registrars.” As
discussed later in this report, some of these individuals have, in fact, participated in Virginia’s
elections.

The Virginia Alien Voter Cover-up Goes Statewide
Alexandria is not the only jurisdiction that concealed the commission of felonies committed by
non-citizen voters in Virginia. Upon the discovery of Alexandria’s list of purged non-citizen
registrants, PILF utilized the NVRA’s public inspection provision to request similar
information from 19 Virginia counties and cities on August 8, 2016. Nearly all of the
counties have failed to comply with their federal obligation to provide transparent list
maintenance records to us.

Requests for a list of non-citizens purged from the voter lists since 2011 were made to the
following Virginia counties and cities:

     x   Arlington
     x   Albemarle
     x   Bedford
     x   Chesterfield
     x   Fairfax City
     x   Fauquier
     x   Frederick
     x   Falls Church
     x   Loudon
     x   Hampton
     x   Hanover
     x   James City
     x   Lancaster
     x   Manassas
     x   Prince William
     x   Roanoke
     x   Stafford
     x   Rappahannock
     x   York
The election officials in charge of these jurisdictions were sometimes responsive, at first. Prince
William County provided a list of 433 non-citizens who had registered to vote in the county,
but were then removed after they were determined to not be U.S. citizens. 15

15
  See Exhibit 1. PILF notes that, on page 1, one registrant appears to be listed twice. However,
on page 29, Prince William County lists the “Declared Non-Citizen Total” at 433 individuals.


                                                 7

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This is where production of records required to be released effectively stopped. Over the course
of August and September 2016, responses from election officials rolled in, each one explaining
that state election officials had instructed them not to provide lists of non-citizens who had
been removed from Virginia’s voter rolls.

The responses were nearly identical and soon it became clear that
they were orchestrated by Edgardo Cortes, the Commissioner of
the Virginia Department of Elections, and an appointee of
Governor McAuliffe. According to numerous county election
officials, Commissioner Cortes had issued guidance to them,
instructing them not to respond to our requests for records
pertaining to non-citizen voters. Some election officials kindly
provided us the original communications from Cortes.

The guidance from Commissioner Cortes included these
instructions: 19




This is what a cover-up of alien voting looks like. State election officials are preventing public
access not only to records showing the number of non-citizens who have successfully registered
to vote, but also records showing how many of them voted prior to being removed from the
registration rolls.


19
     The email is reproduced in its entirety at Exhibit 5 to this report.

                                                     9

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Commissioner Cortes’ guidance was distributed statewide on August 19, 2016. Yet not until
September 16 did Commissioner Cortes contact PILF. In his correspondence, Commissioner
Cortes offered to provide a “customized report” at a cost of $240, 20 a report that he claimed
would satisfy our request concerning non-citizens. It wouldn’t.

Commission Cortes refused to provide a list of non-citizens who have been purged from the
registration list in each jurisdiction. He likewise refused to provide the voting history of
purged non-citizens, reiterating his position that such information is not subject to release under
the NVRA’s public inspection provision, but is available only to “qualified entities” under
limited circumstances. 21

The Virginia State Board of Election’s Excuses to Hide the
Scope of Alien Registration
The Drivers Privacy Protect Act

According to the guidance issued to county election officials, Commissioner Cortes states that a
list of registrants purged from Virginia’s registration lists cannot be provided to the public
because such information is protected from release by the federal Driver’s Privacy Protection
Act (DPPA). This is nonsense.

The DPPA makes it “unlawful for any person knowingly to obtain or disclose personal
information, from a motor vehicle record, for any use not permitted” by one of fourteen
exceptions to the prohibition on disclosure. 22 According to Commissioner Cortes, neither general
registrars nor the Department of Elections can disclose a list of registrations cancelled by
election officials because, according to him, a registrant’s citizenship status, as indicated on his
driver’s license application, is “personal information.” Commissioner Cortes is plainly wrong for
numerous reasons.

PILF seeks list maintenance records from election officials, not from any other state agency. The
DPPA prohibits only the disclosure of “personal information” from a “motor vehicle record.” 23
“Motor vehicle record” is defined by the law; it includes “any record that pertains to a motor
vehicle operator’s permit, motor vehicle title, motor vehicle registration, or identification card
issued by a department of motor vehicles.” 24 Neither the registrant’s citizenship status nor the
reason for the registrant’s cancelation is “personal information” under the DPPA.

20
   This cost was later waived after we informed Commissioner Cortes that the NVRA permits
election officials to charge “reasonable costs” for “photocopying” only. 52 U.S.C. § 20507(i)(1).
It does not permit election officials to impose costs for time spent producing records.
21
   The email is reproduced in its entirety at Exhibit 6 to this report.
22
   18 U.S.C. § 2722(a).
23
   18 U.S.C. § 2722(a).
24
   18 U.S.C. § 2722(a).


                                                10

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The DPPA prohibits the disclosure of only “personal information” and highly restricted personal
information.” 25 “Personal information” is defined by the law; it includes “information that
identifies an individual, including an individual’s photograph, social security number, driver
identification number, name, address (but not the 5-digit zip code), telephone number, and
medical or disability information.” 26 “Highly restricted personal information” is “an individual’s
photograph or image, social security number, medical or disability information.” 27

List maintenance records pertaining to the removal of aliens from the rolls has nothing to do with
a motor vehicle record or any protected personal information or highly restricted personal
information.

Voter History
Commission Cortes’ guidance directed local election officials to conceal records showing the
voting history of any individual whose registration was cancelled for reasons of citizenship.
According to Commissioner Cortes, documents concerning voting activity are not covered under
the NVRA’s public inspection provision and can only be disclosed publicly as permitted by
Commonwealth law, which permits disclosure, at a reasonable cost, only to a list of qualified
entities. 28
In the end, the State Board could not conceal the extent of alien voting because PILF and VVA
worked with a third party with access to voter history to determine which of the aliens who
registered to vote, actually voted. Not surprisingly, many ballots were cast by these aliens.

The Extent of the Non-citizen Registration in Virginia
Despite the cover-up orchestrated by state election officials, PILF was successful in procuring
additional data concerning non-citizen voter registration in Virginia. It was, however, not easy.
Federal law says it should be easy, but Virginia has a great deal to hide when it comes to alien
registration and voting.
By way of dozens of phone calls and in-person visits to election offices, we were able to extract
additional information from local registrars concerning non-citizen participation in Virginia’s
elections. Some officials, however, stood firm, refusing to provide us with the requested
information. The information we have been able to gather thus far demonstrates what many of us
already knew: non-citizens are registering and voting in our elections. The obstructionist
effort led by state election officials has prevented us from learning how much deeper the
problem runs.




25
   18 U.S.C. § 2722(a).
26
   18 U.S.C. § 2725(3).
27
   18 U.S.C. § 2725(4).
28
   Va. Code Ann. § 24.2-406.

                                                11

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Below is the number of registrants per jurisdiction that have been removed from the voter rolls
since, at most, 2011.


                Noncitizens On The Rolls in Eight Counties
         TOTAL (1046)

 Prince William (433)

         Loudon (310)

         Stafford (128)

       Alexandria (70)
                                                                        Removed Noncitizens
          Bedford (35)

         Hanover (28)

         Roanoke (22)

       Fairfax City (20)

                           0   200   400   600   800   1000    1200


This data is but a minor snapshot of the problem. It represents non-citizen registrants in only 8 of
Virginia’s 133 voting jurisdictions and includes only those non-citizens that were discovered to
have been improperly registered. Because no formal programs exist in Virginia to identify non-
citizen registrants, the discovery and removal of these non-citizens is either by accident or
because the registrant later indicated to election officials that he or she was not a citizen. The
total number of non-citizens that remain registered to vote therefore cannot be completely
ascertained. It is, however, likely, that based on discoveries to date, thousands of non-citizens
remain registered and eligible to vote throughout the Commonwealth.
At the instruction of Commissioner Cortes, local election officials refused to provide us with
records showing the voting history of non-citizens removed from registration lists.
In the 8 jurisdictions that provided us with lists of aliens recently removed from their voter rolls,
we discovered that 31 non-citizens had cast a total of 186 votes between 2005 and 2015.
The most alien votes were cast in 2012 followed by 2008, the year President Obama was
elected to his first term.
The bill would have required the clerk of court to “make such information available to local
elections officials so that they could cancel the registration of those individuals deemed
ineligible to vote. The bill’s purpose was clear: prevent ineligible residents from registering and
voting in Virginia’s elections. Governor McAuliffe gave essentially no justification for his
veto of this commonsense law, stating only that the issue needed “addition study.” 29



29
     http://leg1.state.va.us/cgi-bin/legp504.exe?151+amd+HB1315AG.
                                                 12

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It may be no accident that Commissioner Cortes had not done all he could when it comes to
transparency about aliens voting in Virginia elections. Before he was picked by Governor
McAuliffe, he worked at the Advancement Project, an organization strongly opposed to using
citizenship verification tools such as the federal SAVE database.
PILF’s request to local election officials asked for all communications with federal and state law
enforcement officials pertaining to non-citizens who had either registered to vote or voted.
However, we received no records showing that election officials had referred any non-
citizen voters for investigation or prosecution. In fact, some jurisdictions indicated that they
do not even review voter history to identify fraudulent votes. Like our other requests, this
absence of records is due in part to the obstructionist efforts by Commissioner Cortes, whose
guidance to local election officials informed them that communications with law enforcement
officials were not records covered by NVRA and therefore did not need to be provided to PILF.

Systems Failure: The Tradition of Ignoring Alien Voter Fraud in Virginia
The lack of action by the Department of Justice and law enforcement officials in Virginia is
nothing new. In 2011, members of the Fairfax County Electoral Board alerted the Office of the
U.S. Attorney for the Eastern District of Virginia in Alexandria, as well as the Public Integrity
Section of the Criminal Division of the Justice Department (which coordinates election crime
prosecutions) in Washington, of possible voter fraud by non-citizens.




1: Source Virginia State Board of Elections election results website.
The Fairfax County board had discovered 278 registered voters who had represented to the DMV
that they were not U.S. citizens. Almost half of them—117—had not only registered to vote,
they had in fact voted in state and federal elections. The Department of Justice never followed
up, leaving nearly 300 gift-wrapped cases of voter fraud untouched.


                                                                13

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       prosecutors would simply have to verify whether or not the individual was a citizen at the
       time of registration or voting.
Conclusion
The problem is real and the solutions are simple. What is happening in Virginia is happening in
every other state. Your vote is at risk and elected officials must act. You can help. Please contact
your local election officials to ask what they are doing to ensure voter lists are accurate and free
of ineligible voters.




                                                 17

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                                  Exhibit B




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                                           &+,5/8087</7<;

(HNLI>O=NCIH                                        ";H-IH =CNCT?HM @@?=N$F?=NCIH
                                                         .ON=IG?M6?M                        
2B?1N;E?M                                   
                                                         1?H;N?#CMNLC=N           
1OGG;LSI@%CH>CHAM                    
                                                         'IOM?#CMNLC=N           
%?FIHC?MOJIH%?FIHC?M                          
                                                         .NB?L"FIM?0;=?M          
2?LLS,= OFC@@?(M5ILECHA A;CHMN
$F?=NCIH(HN?ALCNS                                    5BI(MNI!F;G?@IL-IH =CNCT?H
                                                         0?ACMNL;NCIH;H>4INCHA             
1B;LCHANB?!F;G?#?@?=NMCHNB?
-;NCIH;F4IN?L0?ACMNL;NCIH =N                       4CLACHC;M%ONOL?5BS =NCIH(M
                                                         -??>?>0CABN-IQ                     
2B?"IP?L OJI@ FC?H0?ACMNL;NCIH
;H>4INCHA                                            4CLACHC;M-?RN&IP?LHIL   

 F?R;H>LC;                                    'IOM?I@#?F?A;N?M         

2B?"IP?L OJ&I?M1N;N?QC>?                   3HCN?>1N;N?M1?H;N?       

2B?$R=OM?M@IL'C>CHA(H@ILG;NCIHIH           +I=;F$F?=NCIHM            
-IH =CNCT?HM                             
                                                         0?=IGG?H>;NCIHM;H>1IFONCIHM        
2B?$RN?HNI@-IH =CNCT?H0?ACMNL;NCIH
CH4CLACHC;                                    "IH=FOMCIH                            

 FC?H0?ACMNL;NCIH                        

 FC?H4INCHA                              




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7<:8.=-<387
(H.=NI<?L FIIECHA;N>;N;@LIGIHFS?CABN         2BCML?JILN>?N;CFM@ILJIFC=SG;E?LM ?F?=NCIH
4CLACHC;=IOHNC?M Q?OH=IP?L?>JLII@NB;NF;LA?         I@@C=C;FM;H>NB?A?H?L;FJO<FC=NB?M=IJ?I@NB?
HOG<?LMI@CH?FCAC<F?;FC?HM;L?L?ACMN?LCHANIPIN?     JLI<F?G NB?J;LNC=OF;L>?N;CFM@IL?;=B=IOHNS;H>
;H>=;MNCHA<;FFINM.OLCHP?MNCA;NCIHL?P?;F?>        NB?I<MNLO=NCIH<SAIP?LHG?HNI@@C=C;FMCH
NB;NCHNB?M??CABN4CLACHC;FI=;FCNC?MGIL?NB;H        I<N;CHCHANBCM>;N;
 HIH =CNCT?HMB;>L?=?HNFS<??HL?GIP?>
@LIGNB?PIN?LLIFFM(HNBCMMG;FFM;GJF? H?;LFS   /IFC=SG;E?LMB;P?;>O;F=B;FF?HA?X@CRCHANB?
P?LC@C?><;FFINMQ?L?=;MNJLCILNII@@C=C;FL?GIP;F    OH>?LFSCHAJLI<F?GI@HIH =CNCT?HM?;MCFS
$;=BIH?I@NB?GCMFCE?FS;@?FIHS                    L?ACMN?LCHANIPIN?;MQ?FF;MNB?MNO<<ILH
                                                         N?H>?H=SI@MIG??F?=NCIHI@@C=C;FMNIBC>?;H>
                                                         ?R=OM?NBCM=CL=OGMN;H=?


                                                                         1CH=?IOLF;MNCHP?MNCA;NCIH NB?
                                                                         HOG<?LI@L?ACMNL;HNML?GIP?>
                                                                         @LIG PIN?L LIFFM @IL =CNCT?HMBCJ
                                                                         JLI<F?GMAL?QNIIP?L .@
                                                                         NB?M? CFF?A;F L?ACMNL;HNM   
                                                                         =;MN H?;LFS   <;FFINM CH
                                                                         ?F?=NCIHM>;NCHA<;=ENI         


                                                         0?G?G<?L NB?  JFOML?ACMNL;HNML?GIP?>@IL
                                                         =CNCT?HMBCJJLI<F?GM;L?IHFSNBIM?QBIQ?L?
                                                         =;OABN2B?SQ?L?=;OABN<SB;JJ?HMN;H=?
                                                         OMO;FFS<SN?FFCHANB?GINILP?BC=F?;A?H=SNB?S
                                                         Q?L?HIN;=CNCT?H;@N?LJL?PCIOMFSN?FFCHANB?
                                                         ;A?H=SNB?SQ?L?;=CNCT?H(NCMHINOHL?;MIH;<F?
                                                         NI=IH=FO>?NB;NNB?@OFF ;H>OHEHIQH ?RN?HNI@
                                                         HIH =CNCT?HML?ACMN?L?>NIPIN?@;L?R=??>MNB?
                                                           JFOMQBIQ?L?L?GIP?>

                                                         2BCMCM;H?MJ?=C;FFSMIOH>=IH=FOMCIHQB?HSIO
                                                         =IHMC>?LNB;NPCLNO;FFSHINBCHACM<?CHA>IH?NI
                                                         >?N?=NHIH =CNCT?HMIHNB?PIN?LLIFFMCH4CLACHC;
                                                         5ILM? NB?#?J;LNG?HNI@$F?=NCIHM;H>MIG?
2BCML?JILN>?N;CFMNB?MN;N?QC>?JLI<F?GI@             FI=;F?F?=NCIHI@@C=C;FM>C>?P?LSNBCHANB?S=IOF>NI
L?ACMN?L?>PIN?LMQCNB=CNCT?HMBCJJLI<F?GMCH           BC>?NB?CH@ILG;NCIH ;MQ?MB;FFM??<?FIQ.HFS
4CLACHC;                                             ;@N?LNB?/O<FC=(HN?L?MN+?A;F%IOH>;NCIH@CF?>
                                                         GOFNCJF?F;QMOCNMCH@?>?L;F=IOLN >C>MN;N?I@@C=C;FM
                                                         L?F?HN;H>JLIPC>?NB?PIN?LFCMNG;CHN?H;H=?
                                                         L?=IL>M

                                                           FFI@NB?L;Q>;N;;H>L?=IL>MI<N;CH?>CHIOL
                                                         L?M?;L=BCHNI;FC?HL?ACMNL;NCIH;H>PINCHA=;H<?
                                                         I<N;CH?>;N
                                                         BNNJMJO<FC=CHN?L?MNF?A;FILA;FC?H CHP;MCIH
                                                         PCLACHC;




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&2/%<+4/;                                                %=66+:A8037.371;
"CNCT?HMBCJCMNB?GIMN@OH>;G?HN;F?F?G?HNI@            .<MNLO=NCIHCMNN;=NC=M<SFI=;F;H>MN;N??F?=NCIH
?FCAC<CFCNSNIPIN?CH G?LC=;H?F?=NCIHM$P?LSMN;N?    I@@C=C;FMFCGCN?>NB?M=IJ?I@NB?.=NI<?L
L?KOCL?MPIN?LMNI<?31=CNCT?HMNIPIN?CHMN;N?        FC?H(HP;MCIHL?JILNNIMCR=IOHNC?M;H>NQI=CNC?M
?F?=NCIHM2B?4CLACHC;"IHMNCNONCIH MJ?=C@C=;FFS      5?B;>;ME?>NB?4CLACHC;#?J;LNG?HNI@$F?=NCIHM
>?FCH?;N?MNB;NZ8?9;=BPIN?LMB;FF<?;=CNCT?HI@       @ILNB?@OFFFCMNI@L?ACMNL;HNML?GIP?>@IL=CNCT?HMBCJ
NB?3HCN?>1N;N?M[                                       JLI<F?GM<ONQ?>C>HINL?=?CP?CNOHNCFQ?<LIOABN
                                                          @?>?L;FF;QMOCNM;A;CHMNNQI4CLACHC;?F?=NCIH
2B?>?MCAHCMMCGJF?                                    I@@C=C;FM
                                %?>?L;FF;QG;E?MCN;
=LCG?@IL;H;FC?HNIL?ACMN?LNIPIN?ILNIPIN?CH;
@?>?L;F?F?=NCIH1CGJFSJON CNCM;@?FIHS@IL;
HIH =CNCT?HNIL?ACMN?L;H>NI=;MN;<;FFIN $;=B
NCG?MO=B;=LCG?CMJ?LJ?NL;N?> <S;==C>?HNIL                 
QCFF@OFFS ;=CNCT?HCM?@@?=NCP?FS>CM?H@L;H=BCM?>                                                           

2B?M;@?AO;L>MNIJL?P?HN;FC?HPIN?LL?ACMNL;NCIH
;L?@;CFCHA2B?%?>?L;F4IN?L0?ACMNL;NCIH%ILG
JOLJILNMNIJL?P?HN;FC?HM@LIGL?ACMN?LCHANIPIN?
!ONCNCM;HCH?@@?=NCP?BIHILMSMN?GOH>?LQBC=B
NB?;FC?HH??>G?L?FSFC?NIA?NIHNB?PIN?LLIFFM
4CLACHC;YM?F?=NCIHI@@C=C;FM=IOF>CGJF?G?HN
JLI=?>OL?MNIM;@?AO;L>NB?MSMN?G <ONB;P?HYN
@ILJ;LNCM;HL?;MIHM                                                       ,  

$P?HQILM? @?>?L;F;H>MN;N?F;Q?H@IL=?G?HN                 &*&&'
I@@C=C;FMXQBI;L??HNLOMN?>QCNBJLIM?=ONCHAHIH
=CNCT?HMQBIL?ACMN?L;H>PIN?;M;G?;HMNI>?N?L
INB?LM@LIG>ICHANB?M;G?X
                                                                            , 

                                                              (*%(%
               $P?LSMN;N?L?KOCL?MPIN?LMNI
               <? 31 =CNCT?HM NI PIN? CH           (H4CLACHC; FCE?GIMNMN;N?M NB?L?CMHI@ILG;F
               MN;N??F?=NCIHM                           JLIAL;G@ILC>?HNC@SCHAHIH =CNCT?HL?ACMNL;HNM2B?
                                                          "IGGIHQ?;FNB@ILG?LFS;LL;HA?>NIOM?NB?
                                                          %?>?L;F1SMN?G;NC= FC?H4?LC@C=;NCIH@IL
                                                          $HNCNF?G?HNM 1 4$ >;N;<;M?NI>?N?=N;FC?HM 
(HJL;=NC=? HIH?I@NB?MI =;FF?>M;@?AO;L>M;L?
@OH=NCIHCHA=ILL?=NFS

                                                          1N;N??F?=NCIHI@@C=C;FM=IH=?>?NB;NGIMN
                                                          >CM=IP?LC?MI@HIH =CNCT?HMIHNB?L?ACMNL;NCIHLIFFM
                 2B?S;L?=;H=?FFCHAIONNB?P;FC>       ;L?;==C>?HN;FIL<S=B;H=? ==IL>CHANI
PIN?MI@ G?LC=;H=CNCT?HM%;=?>QCNBNBCMMN;LE         =IGGOHC=;NCIHML?=?CP?>@LIG$>A;L>I"ILN?M
L?;FCNS &IP?LHIL2?LLS,= OFC@@?B;MHINIHFS@;CF?>     NB?"IGGCMMCIH?LI@NB?4CLACHC;#?J;LNG?HNI@
NI;=N B?B;ML?J?;N?>FS<FI=E?>F?ACMF;NCIH             $F?=NCIHM NB? HIH =CNCT?HML?GIP?>@LIGNB?
>?MCAH?>NIB?FJ@CRNB?M?JLI<F?GM                      PIN?LLIFFMCHL?=?HNS?;LMQ?L?>CM=IP?L?>IHFS
                                                          <?=;OM?NB?S                  NB?CLMN;NOM;M;HIH
                                                          =CNCT?HNI"IGGIHQ?;FNBI@@C=C;FM




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                                                            /5873/;=987/5873/;
(H?MM?H=? NB?HOG<?LI@L?ACMN?L?>HIH =CNCT?HM          5B?HHIH =CNCT?HML?ACMN?LIL;=NO;FFSPIN? NB?S
CH4CLACHC;NBOM@;LC>?HNC@C?><SNBCMCHP?MNCA;NCIHCM   PCIF;N?<INBMN;N?;H>@?>?L;FMN;NON?M<?=;OM?
DOMNNB?ZNCJI@NB?C=?<?LA[ ==IL>CHANI           =CNCT?HMBCJCM;L?KOCL?G?HNNIPIN?CH<INBMN;N?
3HCN?>1N;N?"?HMOM?MNCG;N?M NB?L?;L?                   ;H>@?>?L;F?F?=NCIHM
;JJLIRCG;N?FS " HIH=CNCT?HMCH
NB?"IGGIHQ?;FNB $;=BI@NB?M?CH>CPC>O;FM=;H           2B?I@@?HM?M;@L;O>OF?HNPIN?LGCABN=IGGCN
G;E?NB?CLQ;SIHNINB?PINCHALIFFM<SMCGJFS              QB?HB?L?ACMN?LM;H>PIN?M;L?HOG?LIOM
=B?=ECHANB?QLIHA<IR>OLCHA;PCMCNNINB?#,4

                                                                     "        
3FNCG;N?FS NB?HOG<?LI@CFF?A;FPIN?M>I?MHIN
G;NN?LQB?HNB?CHN?ALCNSI@NB?JLI=?MMCM;NMN;E?                   "LCGCH;FCT?M=;MNCHA;H
-IIH?MBIOF>NIF?L;N?PIN?L@L;O> QB?NB?LCN                               CFF?A;F<;FFIN
=IG?MCHJI=E?NM;MQ?>?M=LC<?B?L?B;JJ?HM
I==;MCIH;FFSIL>?=C>?MNB?ION=IG?I@;H
?F?=NCIH                                                      ! !!! "
+;QF?MMH?MMCH?F?=NCIHMCM;JL?=OLMIL@ILNB?
M;G?;=LIMMIOLAIP?LHG?HN;H>=OFNOL?2B?                           "LCGCH;FCT?MPINCHA<SCFF?A;F
L?MJIHM?I@F;Q?H@IL=?G?HNI@@C=C;FMNI<INB                          ;FC?HMCH@?>?L;F?F?=NCIHM
MCHAF?CHMN;H=?MI@PIN?L@L;O>;H>NB?BOH>L?>MI@
?R;GJF?M>I=OG?HN?>CHNBCML?JILNMBIOF><?NB?
M;G?MQC@N MOL?;H>OHQ;P?LCHA                               ! !!! "

                                                                  "LCGCH;FCT?ML?JL?M?HNCHAIH?M?F@
                  -IIH?MBIOF>NIF?L;N?PIN?L                      NI<?;3HCN?>1N;N?M=CNCT?H
                  @L;O>  QB?NB?L CN =IG?M CH
                  JI=E?NM;MQ?>?M=LC<?B?L?
                  B;JJ?HM I==;MCIH;FFS IL                    ! !!! "
                  >?=C>?M NB? ION=IG? I@ ;H
                  ?F?=NCIH                                        "LCGCH;FCT?M@;FM?MN;N?G?HNMCH
                                                                    IL>?LNIL?ACMN?LILPIN?CH;HS
                                                                   %?>?L;F 1N;N? ILFI=;F?F?=NCIH
2B?L?CMJF?HNSI@<F;G?NIAI;LIOH>.H?=OFJLCN
BIQ?P?L CMAF;LCHAFSI<PCIOMX@?>?L;F;H>MN;N?
PIN?LL?ACMNL;NCIH@ILGM QBC=B;MEL?ACMNL;HNMNI             !    !!! "
;@@CLGNB?CL=CNCT?HMBCJQCNBHINBCHAGIL?NB;HNB?
=B?=EI@;<IR
                             2BCMCMHINBCHAGIL?                    "LCGCH;FCT?MNB?@L;O>OF?HN
NB;H;HBIHILMSMN?G IH?NB;NCMOHKO?MNCIH;<FS                    MO<GCMMCIHI@PIN?LL?ACMNL;NCIH
@;CFCHANIE??JHIH =CNCT?HM@LIGPINCHA.H=?NB?                  ;JJFC=;NCIHM;H>NB?@L;O>OF?HN
PIN?LCML?ACMN?L?> HI;>>CNCIH;F=B?=EM;L?G;>?                         =;MNCHAI@<;FFINM
;<IONNB?=CNCT?HMBCJMN;NOMI@NB?L?ACMNL;HN$;MCFS
I<N;CH?>JO<FC=CH@ILG;NCIHXMO=B;MDOLSL?=OM;F            2B?3HCN?>1N;N?M NNILH?S&?H?L;F;H>NB?F;Q
CH@ILG;NCIHMBIQCHAJ?LMIHMQBI?M=;J?DOLS>ONS            ?H@IL=?G?HNI@@C=?LMCHNB?"IGGIHQ?;FNBI@
<?=;OM?NB?S;L?HIN;=CNCT?HXCMCAHIL?>                 4CLACHC;;L? L?MJ?=NCP?FS ;ONBILCT?>NIJLIM?=ON?
                                                            PCIF;NCIHMI@;FFI@NB?M?MN;NON?M&CP?HNB;NNB?
2BCML?JILN>?GIHMNL;N?MNB?M?LCIOMJLI<F?GNB;N           CHN?ALCNSI@;H?F?=NCIHCMQB?L?NB?=IHM?HNI@NB?
&IP?LHIL,= OFC@@?;H>NB?"IGGIHQ?;FNBYM                   AIP?LH?>CMI<N;CH?> SIOQIOF>NBCHENB;N@?>?L;F
OH?F?=N?>I@@C=C;FMB;P?L?@OM?>NI;>>L?MM;H>             ;H>MN;N??F?=NCIHI@@C=C;FMQIOF>NL?;NNB?M?
?P?HNLC?>NIBC>?(NCMIOLBIJ?NB;NNBCML?JILNQCFF    =LCG?MQCNB;JJLIJLC;N?M?LCIOMH?MM MQCFF<?
L?MOFNCHMQC@N=B;HA?MNB;NL?MNIL?=IH@C>?H=?CH          >CM=OMM?>F;N?LCHNBCML?JILN NB;NCMHINNB?=;M?
IOL?F?=NCIHM




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%2+:371<2/5+6//0/-<;37<2/"+<387+5(8</:$/13;<:+<387-<
2B?JLI<F?GMQCNBNB?PIN?LLIFFMCH4CLACHC;;H>
INB?LMN;N?M=;H<?NL;=?><;=ENI5CNBCH
GIHNBMI@;MMOGCHANB?/L?MC>?H=S !CFF"FCHNIH
MCAH?>CHNIF;QNB?-;NCIH;F4IN?L0?ACMNL;NCIH =N
 Z-40 [  ;MQ??JCHAJC?=?I@F?ACMF;NCIHNB;N
JLIJIH?HNM=F;CG?>QIOF>CH=L?;M?NB?HOG<?LI@
L?ACMN?L?>PIN?LM;H>J;LNC=CJ;NCIHCHIOL?F?=NCIHM
.H?NBCHACM@ILMOL?X>?@?=NMCHNB?F?ACMF;NCIH
;FMICH=L?;M?>NB?HOG<?LI@CH?FCAC<F?PIN?LMIH
MN;N?PIN?LLIFFM

2B?-40 =IGGIHFSEHIQH;MZ,INIL4IN?L [
L?KOCL?M?;=BMN;N?NII@@?LPIN?LL?ACMNL;NCIHNI;HS
CH>CPC>O;FNB;N;JJFC?M@IL;>LCP?LYMFC=?HM? 2BCM
JLIPCMCIHI@NB?F;QL?KOCL?MNB?;JJFC=;HNNIMQ?;L
NIBCMILB?L=CNCT?HMBCJOH>?LJ?H;FNSI@J?LDOLS 
<ON>I?MHINJ?LGCN HIL>?HS NB?MN;N?YM;<CFCNSNI
P?LC@S=CNCT?HMBCJNBLIOAB@ILG;F>I=OG?HN;NCIH
(HMN?;> NB?F;QJLIPC>?MNB;NNB?MN;N?MZG;S
L?KOCL?IHFSNB?GCHCGOG;GIOHNI@CH@ILG;NCIH
H?=?MM;LSNI?H;<F?1N;N??F?=NCIHI@@C=C;FMNI
                                                                             %)%' ) ! &  %##%$(
;MM?MMNB??FCAC<CFCNSI@NB?;JJFC=;HN;H>NI
;>GCHCMN?LPIN?LL?ACMNL;NCIH;H>INB?LJ;LNMI@NB?
?F?=NCIHJLI=?MM[                                      /(+%@CF?>#! !   CH
                                                          ;FIH?NI@IL=??F?=NCIHI@@C=C;FMNI;FFIQCHMJ?=NCIH
                                                          I@NB?CL?F?=NCIHL?=IL>M

              4CLACHC; L?KOCL?M ;JJFC=;HNM NI
              G?L?FS =B?=E ; <IR CH IL>?L NI
              ZJLIP?[NB?CL=CNCT?HMBCJMN;NOM



  NN?GJNM<SP;LCIOMMN;N?MNIL?KOCL?L?ACMNL;HNMNI
JLIPC>?>I=OG?HN;LSJLII@I@=CNCT?HMBCJ>OLCHA
L?ACMNL;NCIH@IL@?>?L;F?F?=NCIHMB;P?<??H
NBQ;LN?><SF;QMOCNM<LIOABN<SF?@N F?;HCHA
ALIOJM4CLACHC;NB?L?@IL?L?KOCL?M;JJFC=;HNMNI
                     CHIL>?LNIZJLIP?[NB?CL
=CNCT?HMBCJMN;NOM2BCMB;MJLIP?HNI<?
CH;>?KO;N?

$F?=NCIHI@@C=C;FMGOMN;FMIZG;CHN;CH@IL;NF?;MN
S?;LM[;H>ZG;E?;P;CF;<F?@ILJO<FC=CHMJ?=NCIH[
Z;FFL?=IL>M=IH=?LHCHANB?CGJF?G?HN;NCIHI@
JLIAL;GM;H>;=NCPCNC?M=IH>O=N?>@ILNB?JOLJIM?
I@?HMOLCHANB?;==OL;=S;H>=OLL?H=SI@I@@C=C;F
FCMNMI@?FCAC<F?PIN?LM[ 




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                 JLIPC>?>;FCMNI@HIH =CNCT?HM
NB;NB;><??HL?GIP?>@LIGNB?PIN?LLIFFM
!?>@IL>"IOHNS;FMIJLIPC>?>=IJC?MI@HINC=?M
M?HNNICH>CPC>O;FMQBICH>C=;N?>IHNB?CL#,4
;JJFC=;NCIHMNB;NNB?SQ?L?HIN=CNCT?HM2B?
=IOHNSM?HN?;=BCH>CPC>O;F;-INC=?I@(HN?HNNI
";H=?F QBC=BCH@ILG?>NB?;JJFC=;HNNB;N
;FNBIOABNB?SCH>C=;N?>NB?SQ?L?HIN;=CNCT?HIH
NB?CL#,4;JJFC=;NCIH NB?CLL?ACMNL;NCIHQIOF>
L?G;CH;=NCP?C@NB?SMCGJFSMCAH?>NB?HINC=?
;@@CLGCHANB?SQ?L?;=CNCT?H

.@NB?MOMJ?=N?>HIH =CNCT?HM IHFSQ?L?
L?GIP?>2B?L?G;CHCHACH>CPC>O;FMQBIB;>
JL?PCIOMFSMQILHOH>?LJ?H;FNSI@J?LDOLSNINB?
#,4NB;NNB?SQ?L?HIN31=CNCT?HML?NOLH?>NB?
HINC=? MN;NCHANB?SQ?L?;31=CNCT?H;H>
NB?L?@IL?MN;S?>IHNB?L?ACMNL;NCIHLIFFM2B?
;@@CLG;NCIHHINC=?CMHINBCHAGIL?NB;H;HBIHIL
MSMN?GNB;N?;MCFS;FFIQMHIH =CNCT?HMNIL?G;CH
L?ACMN?L?>NIPIN? DOMNFCE?NB?CHCNC;F=CNCT?HMBCJ
=B?=E<IRIHNB?PIN?L@ILG

.H?Q??E;@N?LJLIPC>CHANB?FCMNI@L?ACMNL;HNM               '% %')( %## (( %$' &')#$)% ") %$(
L?GIP?>@IL=CNCT?HMBCJJLI<F?GM !;L<;L;&OHN?L                             %)%' ) %##%$,")% ' $ 
NB?A?H?L;FL?ACMNL;L@IL!?>@IL>"IOHNS
=IHN;=N?>/(+%<SJBIH?2B?4CLACHC;#?J;LNG?HN        2BCMMN;N? ?HACH??L?>MNIH?Q;FFCHAI==OLL?>IH
I@$F?=NCIHM=IHN;=N?>,M&OHN?L;H>NIF>B?LNB;N     NB??P?I@;@?>?L;F?F?=NCIHQB?L?NB?LIF?I@
MB?MBIOF>HINB;P?JLIPC>?>OMQCNBNB?FCMNI@        @IL?CAH?LMCHNB?3HCN?>1N;N?MQ;M;=?HNL;FCMMO?
L?GIP?>PIN?LM<?=;OM?>ICHAMIPCIF;N?MNB?            CHNB?/L?MC>?HNC;FL;=?"IP?LCHAOJNB?LIF?I@
%?>?L;F#LCP?LM/LCP;=S/LIN?=NCIH =N1B?;ME?>       @IL?CAH?LML?ACMN?LCHANIPIN?>C>;>CMM?LPC=?NI;
NB;N/(+%>?F?N?NB?FCMNI@JL?PCIOMFSJLIPC>?>        @OFF;H>NL;HMJ;L?HN>?<;N?I@NB?CMMO?M
JO<FC=CH@ILG;NCIH MQ?MB;FFM?? ;@?>?L;F=IOLN
@IOH>HIG?LCNCHNB?;NN?GJNNIBC>??F?=NCIH          $>A;L>I"ILN?M NB?"IGGCMMCIH?LI@NB?4CLACHC;
L?=IL>M<;M?>IH;@?>?L;FBCABQ;SF;Q                #?J;LNG?HNI@$F?=NCIHM ;H>;H;JJICHN??I@
                                                        &IP?LHIL,= OFC@@? CHMNLO=N?>FI=;F?F?=NCIH
                  ;=N?>MCGCF;LFS                    I@@C=C;FMNIMNIH?Q;FFIOLL?KO?MNM@ILJO<FC=
                                                        CH@ILG;NCIH;<ION;FC?HPINCHAQCNB;F?A;FFS
                                                        G?LCNF?MM?R=OM?-OG?LIOM=IOHNS?F?=NCIH
                                                        I@@C=C;FM=IH@CLG?>NI/(+%NB;N"IGGCMMCIH?L
           +CE?!?>@IL>"IOHNS ,M1NIE?M            "ILN?MB;>CMMO?>AOC>;H=?NINB?G CHMNLO=NCHA
?RJF;CH?>NB;NB?LL?KO?MNNI>?MNLISJO<FC=            NB?GHINNIL?MJIH>NIIOLL?KO?MNM@ILL?=IL>M
?F?=NCIHCH@ILG;NCIHILCACH;N?>QCNBNB?4CLACHC;       J?LN;CHCHANIHIH =CNCT?HPIN?LM1IG??F?=NCIH
#?J;LNG?HNI@$F?=NCIHM                               I@@C=C;FMECH>FSJLIPC>?>OMNB?ILCACH;F
                                                        =IGGOHC=;NCIHM@LIG"ILN?M>CL?=NCHANB?
  @N?LNB?4CLACHC;#?J;LNG?HNI@$F?=NCIHMJOMB?>      MNIH?Q;FFCHA
NB?G?LCNF?MM=F;CGNB;N@?>?L;FBCABQ;SF;Q
JL?P?HN?>OM@LIGM??CHANB?FCMNI@NBIM?L?GIP?>      2BCMCMQB;N;=IP?L OJI@;FC?HPINCHAFIIEMFCE?
@LIGNB?PIN?LLIFFM@IL=CNCT?HMBCJJLI<F?GM NB?
JLI>O=NCIHI@L?=IL>M<SFI=;FI@@C=C;FM?@@?=NCP?FS
MNIJJ?>.P?LNB?=IOLM?I@ OAOMN;H>
1?JN?G<?L L?MJIHM?M@LIG?F?=NCIHI@@C=C;FM
LIFF?>CH 




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"IGGCMMCIH?L"ILN?MYCHMNLO=NCIHMNIMNIH?Q;FFIOL        ';;E?Q;MOH;<;MB?>;<IONBCMHIH =IGJFC;H=?
L?KO?MNM@ILJO<FC=?F?=NCIHCH@ILG;NCIHQ;M              QCNB/(+%YML?KO?MN@ILL?ACMNL;NCIHL?=IL>M#OLCHA
>CMNLC<ON?>MN;N?QC>?NIFI=;F?F?=NCIHI@@C=C;FMIH      ;JO<FC=B?;LCHA<?@IL?;DICHNM?MMCIHI@NB?
  OAOMN  6?NHINOHNCF1?JN?G<?L>C>        /LCPCF?A?M;H>$F?=NCIHM"IGGCNN??MI@NB?4CLACHC;
"IGGCMMCIH?L"ILN?M=IHN;=N/(+%(HBCM                  &?H?L;F MM?G<FSIH.=NI<?L  ;NQBC=B
=ILL?MJIH>?H=? "IGGCMMCIH?L"ILN?MI@@?L?>NI            /(+%L?JL?M?HN;NCP?MQ?L?CHPCN?>NIMJ?;E ';;E?
JLIPC>?;Z=OMNIGCT?>L?JILN[;N;=IMNI@ ;       N?MNC@C?>NB;NB?>?FC<?L;N?FS>C>HINJLIPC>?/(+%
L?JILNNB;NB?=F;CG?>QIOF>M;NCM@SIOLL?KO?MN          QCNBNB?L?KO?MN?>L?=IL>M'CM>?@C;H=?F;H>?>
=IH=?LHCHAHIH =CNCT?HM(N>C>HYN=IG?=FIM?NI         BCGCH@?>?L;F=IOLN
L?MJIH>CHANIIOLL?KO?MNM>?N;CFCHANB?H;G?MI@
;FC?HML?GIP?>@LIGNB?PIN?LLIFFM@IL=CNCT?HMBCJ       ';;E?;H>0??>GIP?>NI>CMGCMM/(+%YMF;QMOCNM
JLI<F?GM                                                ;LAOCHA ;NNB?<?B?MNI@"IGGCMMCIH?L"ILN?M
                                                          NB;NNB?#// MBC?F>?>NB?CLL?=IL>M@LIGJO<FC=
                                                          >CM=FIMOL?(H;NQI J;A?>?=CMCIH NB?@?>?L;F
                                                         =IOLNMQC@NFSL?D?=N?>NBCM?R=OM? @CH>CHANB;NZNB?
                                                         #// >I?MHIN;JJFSNI>CM=FIMOL?I@NB?PIN?L
            '?FCE?QCM?L?@OM?>NIJLIPC>?NB?           CH@ILG;NCIHL?KO?MN?><SNB?/F;CHNC@@[ 
PINCHABCMNILSI@L?ACMNL;HNML?GIP?>@LIGNB?LIFFM
@IL=CNCT?HMBCJJLI<F?GM L?CN?L;NCHABCMJIMCNCIH        ';;E?>C>HINN;E?BCM>?@?;NCHMNLC>?(H;H?G;CF
NB;NMO=BCH@ILG;NCIHCMHINMO<D?=NNIL?F?;M?           QLCNN?HIHNB?ZI@@C=C;F=IGGOHC=;NCIHFCMN@ILNB?
OH>?LNB?-40 YMJO<FC=CHMJ?=NCIHJLIPCMCIH <ON         &?H?L;F0?ACMNL;LMI@NB?"IGGIHQ?;FNB [';;E?
CM;P;CF;<F?IHFSNIZKO;FC@C?>?HNCNC?M[OH>?LFCGCN?>   L?@?LL?>NI/O<FC=(HN?L?MN+?A;F%IOH>;NCIH
=CL=OGMN;H=?M                                           ;NNILH?SM;MZFIQFC@?M[ .H?GIHNBF;N?L ';;E?
                                                          ;HHIOH=?>B?Q;ML?NCLCHA 
"ILN?M>C>HINJLIPC>?;FCMNI@L?ACMNL;HNML?GIP?>
@IL=CNCT?HMBCJJLI<F?GM;=LIMMNB?                       5CNB;=IOLNIL>?LCHB;H> /(+%L?H?Q?>CNM
"IGGIHQ?;FNBOHNCF,;L=B  H?;LFS?CABN           L?KO?MNNINB?1N;N?#?J;LNG?HNI@$F?=NCIHM@IL
GIHNBM;@N?L/(+%@CLMNG;>?;<LI;>L?KO?MNNI           HIH =CNCT?HL?ACMNL;NCIHL?=IL>M@IL;FFI@
=IOHNC?MIH OAOMN "ILN?M>C>NBCMIHFS          4CLACHC;YMPINCHADOLCM>C=NCIHM Q??EF;N?L
;@N?LNB?3HCN?>1N;N?M#CMNLC=N"IOLNQBIFFS             "IGGCMMCIH?L"ILN?MJLIPC>?>NB?>;N;
L?D?=N?>NB?@FCGMS?R=OM?@IL@;CFCHANIJLIPC>?NB?
>;N;XNB;N@?>?L;FBCABQ;SF;QMG;>?CNJLCP;N?
                                                              (H ;H ?G;CF QLCNN?H IH NB? ZI@@C=C;F
&2/@-=;/;08:3.371                                        =IGGOHC=;NCIH FCMN @IL NB? &?H?L;F
                                                              0?ACMNL;LM I@ NB? "IGGIHQ?;FNB [
708:6+<38787"87 -3<3B/7;                                   ';;E?L?@?LL?>NI/O<FC=(HN?L?MN+?A;F
                                                              %IOH>;NCIH;NNILH?SM;MZFIQFC@?M[
"IGGCMMCIH?L"ILN?MNIF>FI=;F?F?=NCIHI@@C=C;FM
NB;N;FCMNI@L?ACMNL;HNML?GIP?>@LIG4CLACHC;YM
L?ACMNL;NCIHFCMNM@IL=CNCT?HMBCJJLI<F?GM=;HHIN<?     "IGGCMMCIH"ILN?MYAOC>;H=?;FMI>CL?=N?>
JLIPC>?>NINB?JO<FC=<?=;OM?MO=BCH@ILG;NCIHCM        FI=;F?F?=NCIHI@@C=C;FMNI=IH=?;FL?=IL>MMBIQCHA
JLIN?=N?>@LIGL?F?;M?<SNB?@?>?L;F#LCP?LYM            NB?PINCHABCMNILSI@;HSCH>CPC>O;FQBIM?
/LCP;=S/LIN?=NCIH =N #//  @?>?L;F=IOLN             L?ACMNL;NCIHQ;M=;H=?FF?>@IL %L?;MIHM
L?D?=N?>NBCMHIHM?HMC=;F?R=OM?                       ==IL>CHANI"IGGCMMCIH?L"ILN?M >I=OG?HNM
                                                          =IH=?LHCHAPINCHA;=NCPCNS;L?HIN=IP?L?>OH>?L
2B?#// G;E?MCNZOHF;Q@OF@IL;HSJ?LMIH                NB?-40 YMJO<FC=CHMJ?=NCIHJLIPCMCIH;H>=;H
EHIQCHAFSNII<N;CHIL>CM=FIM?J?LMIH;F                  IHFS<?>CM=FIM?>JO<FC=FS;MJ?LGCNN?><S
CH@ILG;NCIH @LIG;GINILP?BC=F?L?=IL> @IL;HS         "IGGIHQ?;FNBF;Q QBC=BJ?LGCNM>CM=FIMOL? ;N;
OM?HINJ?LGCNN?>[<SIH?I@@IOLN??H?R=?JNCIHM          L?;MIH;<F?=IMN IHFSNI;FCMNI@KO;FC@C?>?HNCNC?M
NINB?JLIBC<CNCIHIH>CM=FIMOL? 2B?F;QB;M
HINBCHANI>IQCNB?F?=NCIHMIL?F?=NCIHL?=IL>M         (HNB??H> NB?MN;N?I@@C=C;FM=IOF>HIN=IH=?;FNB?
5CNBHIINB?LL?=IOLM? /(+%MO?>NQI>?@C;HNFI=;F       ?RN?HNI@;FC?HPINCHA<?=;OM?/(+%;H>44
?F?=NCIHI@@C=C;FM +;LLS';;E? NB?H A?H?L;F             QILE?>QCNB;NBCL>J;LNSQCNB;==?MMNIPIN?L
L?ACMNL;L@IL"B?MN?L@C?F>"IOHNS ;H>1OM;H0??>         BCMNILSNI>?N?LGCH?QBC=BI@NB?;FC?HMQBI
A?H?L;FL?ACMNL;L@ILNB?"CNSI@,;H;MM;M               L?ACMN?L?>NIPIN? ;=NO;FFSPIN?>-INMOLJLCMCHAFS
                                                          G;HS<;FFINMQ?L?=;MN<SNB?M?;FC?HM




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         &2/@</7<80"87 -3<3B/7$/13;<:+<38737(3:1373+
  @N?L?CABNGIHNBMI@JBIH?M=;FFM ?F?=NCIHI@@C=?     2BCM>;N;CM<ON;MH;JMBINI@NB?JLI<F?G
PCMCNM ;H>@?>?L;FFCNCA;NCIH /(+%B;MI<N;CH?>
L?=IL>MMBIQCHANB?=OLL?HNFS ;==IOHN?> @IL
?RN?HNI@HIH =CNCT?HL?ACMNL;NCIH;H>PINCHACH
4CLACHC;(NQ;M HIN?;MS >?MJCN?NB?@;=NNB;N
@?>?L;FF;QL?KOCL?MMCAHC@C=;HNF?P?FMI@
NL;HMJ;L?H=S@LIG?F?=NCIHI@@C=C;FM                          2B?NIN;FHOG<?LI@HIH =CNCT?HMNB;N
                                                         L?G;CHL?ACMN?L?>NIPIN?NB?L?@IL?=;HHIN<?
2B?CH@ILG;NCIHQ?B;P?<??H;<F?NIA;NB?L              =IGJF?N?FS;M=?LN;CH?>'IQ?P?L CNCM?MNCG;N?>
>?GIHMNL;N?MQB;NG;HSI@OM;FL?;>SEH?Q              NB;N;JJLIRCG;N?FS HIH=CNCT?HMI@PINCHA
                                                         ;A?L?MC>?CH4CLACHC;(NCMBCABFSFCE?FS NB;N<;M?>
          2B?I<MNLO=NCIHCMN?@@ILNF?><SMN;N?       IH>CM=IP?LC?MNI>;N? NBIOM;H>MI@HIH =CNCT?HM
?F?=NCIHI@@C=C;FMJL?P?HN?>/(+%@LIGI<N;CHCHA        L?G;CHL?ACMN?L?>;H>;<F?NIPIN?NBLIOABIONNB?
NBCMCH@ILG;NCIHJLCILNINB??F?=NCIH             "IGGIHQ?;FNB

53/7$/13;<:+<387                                       2B?CHMNCNONCIHMNB;NMBIOF><?;MECHANB?
                                                         KO?MNCIHM;<IONNB?@OFF?RN?HNI@NB?JLI<F?GX
(HNIN;F  L?ACMNL;HNMQ?L?L?GIP?>@LIGNB?        ?F?=NCIHI@@C=C;FM F;Q?H@IL=?G?HN ;H>NB?G?>C;
PIN?LLIFFM@IL=CNCT?HMBCJJLI<F?GMMCH=?CH       X;L?HYN?P?H;MECHA,IL?I@N?H NB?S;L?>?HSCHA
PINCHADOLCM>C=NCIHM2B?M?Q?L?IHFSNB?            NB?JLI<F?G?RCMNM
L?ACMNL;HNMQCNB=CNCT?HMBCJJLI<F?GMQBIQ?L?
=;OABNJLIPC>CHA=IH@FC=NCHA;HMQ?LMNIMN;N?            0?=;FFNB;NCH &IP?LHIL,= OFC@@?P?NI?>
I@@C=C;FML?A;L>CHANB?CL=CNCT?HMBCJMN;NOM2B?S      F?ACMF;NCIH NB;NQIOF>B;P?;FFIQ?>FI=;F
MQIL?NB?SQ?L?=CNCT?HMIHPIN?LL?ACMNL;NCIH           ?F?=NCIHI@@C=C;FMNII<N;CHCH@ILG;NCIH=IH=?LHCHA
                                                         CH>CPC>O;FMQBIL?=OM?>NB?GM?FP?M@LIGDOLS>ONS
@ILGM NB?HF;N?LNIF>NB?MN;N?NB?SQ?L?HIN           >O?NINB?CLMN;NOM;MHIH =CNCT?HM1O=BCH>CPC>O;FM
=CNCT?HM MIG?NCG?M;@N?LG;HSS?;LMI@PINCHACH        ;L?CH?FCAC<F?NIPIN?;H>NB?CLL?ACMNL;NCIHMMBIOF>
?F?=NCIHM                                             <?=;H=?FF?>&IP?LHIL,= OFC@@?YMP?NIJL?P?HN?>
                                                         NB;N@LIGB;JJ?HCHA
6?N CHDOLCM>C=NCIHM HIN;MCHAF?HIH =CNCT?HB;M
<??HL?GIP?>CHIP?LS?;LM!?FIQ;L?NB?NIN;FM
@ILNB?NIJI@@?H>CHADOLCM>C=NCIHM2B?>;N;@IL
NB?L?G;CHCHADOLCM>C=NCIHMCM;P;CF;<F?;N$RBC<CN
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